Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF CALIFORNIA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Gaia Interactive, Inc.

2.   All other names debtor
     used in the last 8 years     DBA Gaia Online
     Include any assumed          DBA Gaia Online, LLC
     names, trade names and       DBA Ravel Labs LLC, aka Unravel
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  2445 Augustine Drive, Suite 150
                                  Santa Clara, CA 95054
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Santa Clara                                                     Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




              Case: 21-50660               Doc# 1       Filed: 05/12/21            Entered: 05/12/21 15:29:22                   Page 1 of 61
Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
Debtor    Gaia Interactive, Inc.                                                                       Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




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Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
Debtor    Gaia Interactive, Inc.                                                                          Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
              Case: 21-50660                      Doc# 1         Filed: 05/12/21            Entered: 05/12/21 15:29:22                     Page 3 of 61
Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
Debtor   Gaia Interactive, Inc.                                                          Case number (if known)
         Name

                                  $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                                  $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                                  $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




             Case: 21-50660           Doc# 1         Filed: 05/12/21        Entered: 05/12/21 15:29:22               Page 4 of 61
Official Form 201                       Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
Debtor    Gaia Interactive, Inc.                                                                   Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      May 12, 2021
                                                  MM / DD / YYYY


                             X   /s/ James Cao                                                            James Cao
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   CEO




18. Signature of attorney    X   /s/ Michael W. Malter                                                     Date May 12, 2021
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Michael W. Malter #96533
                                 Printed name

                                 Binder & Malter, LLP
                                 Firm name

                                 2775 Park Avenue
                                 Santa Clara, CA 95050
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (408) 295-1700                Email address      Michael@bindermalter.com

                                 #96533 CA
                                 Bar number and State




              Case: 21-50660             Doc# 1         Filed: 05/12/21             Entered: 05/12/21 15:29:22                    Page 5 of 61
Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
 Fill in this information to identify the case:

 Debtor name         Gaia Interactive, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          May 12, 2021                            X /s/ James Cao
                                                                       Signature of individual signing on behalf of debtor

                                                                       James Cao
                                                                       Printed name

                                                                       CEO
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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            Case: 21-50660                    Doc# 1            Filed: 05/12/21             Entered: 05/12/21 15:29:22          Page 6 of 61
 Fill in this information to identify the case:
 Debtor name Gaia Interactive, Inc.
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF                                                                                         Check if this is an
                                                CALIFORNIA
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Cathay Bank                                                     Blanket lien on all                             $1,720,000.00                   Unknown                $971,082.00
 2855 Kifer Road,                                                assets. Amount
 Ste. 245                                                        shown is principal
 Santa Clara, CA                                                 balance of
 95051                                                           $1,350,000 plus
                                                                 estimated accrued
                                                                 interest and fees.
 US Small Business                                               UCC-1 filing in     Disputed                       $500,000.00                        $0.00            $500,000.00
 Adminstration                                                   wrong state, lien
 10737 Gateway                                                   is disputed.
 West #300
 El Paso, TX 79935
 US Small Business                                               Second PPP Loan                                                                                        $210,800.00
 Adminstration                                                   - Debtor intends
 ReadyCap Lending,                                               to apply for
 LLC                                                             foregiveness of
 200 CONNELL                                                     this loan
 DRIVE, SUITE 4000
 Berkeley Heights,
 NJ 07922
 ADP                                                             Trade debt                                                                                             $101,223.77
 1851 N Resler Drive
 MS-100
 El Paso, TX 79912
 Equinix, Inc.                                                   Trade debt                                                                                               $89,260.88
 c/o Alan L. Brodkin
 & Associates
 15500 B Rockfield
 Blvd.
 Irvine, CA 92618
 Credibility Capital                                             UCC-1 filing in        Disputed                     $75,154.95                        $0.00              $75,154.95
 419 Park Avenue So,                                             wrong state, lien
 #807                                                            disputed.
 San Diego, CA
 92150




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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                 Case: 21-50660                    Doc# 1            Filed: 05/12/21          Entered: 05/12/21 15:29:22                            Page 7 of 61
 Debtor    Gaia Interactive, Inc.                                                                             Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 BlueVine Capital,                                               UCC-1 filing in        Disputed                     $67,146.00                        $0.00              $67,146.00
 Inc.                                                            wrong state, lien
 401 Warren St.,                                                 disputed.
 Suite 300
 Redwood City, CA
 94063
 Loanme Inc.                                                     Loan to                Disputed                                                                          $65,721.68
 1900 S State College                                            corporation
 Blvd Suite 300
 Anaheim, CA 92806
 Credibility Capital                                             UCC-1 fiing in         Disputed                     $27,578.66                        $0.00              $27,578.66
 419 Park Avenue So,                                             wrong state, lien
 #807                                                            disputed.
 San Diego, CA
 92150
 Credibility Capital                                             UCC-1 filing in        Disputed                     $25,485.93                        $0.00              $25,485.93
 419 Park Avenue So,                                             wrong state, lien
 #807                                                            disputed.
 San Diego, CA
 92150
 The Irvine Company                                              Unpaid rent at                                                                                           $16,530.00
 2550 N. First Street,                                           prior address.
 Suite 100
 San Jose, CA 95131
 Oracle America,                                                 Trade debt                                                                                                 $3,995.00
 Inc.(used to be
 Zenedge)
 P.O. Box 44471
 San Francisco, CA
 94144-4471
 American Express                                                Miscellaneous                                                                                              $2,700.43
 P.O. Box 981537                                                 purchases
 El Paso, TX 79998
 Kansas Department                                               State Tax Warrant                                                                                          $2,347.00
 of Revenue
 P.O. Box 12005
 Topeka, KS
 66612-2005
 CenturyLink(Level 3                                             Trade debt                                                                                                 $1,505.55
 Communications
 LLC)
 1025 Eldorado Blvd
 Broomfield, CO
 80021
 Solium                                                          Trade debt                                                                                                 $1,500.00
 221 Main Street,
 Suite 780
 San Francisco, CA
 94105
 AT&T                                                            Trade debt                                                                                                 $1,470.71
 870 N. McCarthy
 Blvd. Floor 1
 Milpitas, CA 95035

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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                 Case: 21-50660                    Doc# 1            Filed: 05/12/21          Entered: 05/12/21 15:29:22                            Page 8 of 61
 Debtor    Gaia Interactive, Inc.                                                                             Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Cogent                                                          Trade debt                                                                                                 $1,309.75
 Communications,
 Inc
 P.O Box 791087
 Baltimore, MD
 21279-1087
 Kansas Department                                               State Tax Warrant                                                                                            $813.00
 of Revenue
 P.O. Box 12005
 Topeka, KS
 66612-2005
 Kansas Department                                               State Tax Warrant                                                                                            $813.00
 of Revenue
 P.O. Box 12005
 Topeka, KS
 66612-2005




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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                 Case: 21-50660                    Doc# 1            Filed: 05/12/21          Entered: 05/12/21 15:29:22                            Page 9 of 61
 Fill in this information to identify the case:

 Debtor name            Gaia Interactive, Inc.

 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                                                                        Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $           567,616.22

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $           567,616.22


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $        4,159,988.16


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $              4,603.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$        4,028,872.97


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $           8,193,464.13




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                                                           Best Case Bankruptcy
           Case: 21-50660                             Doc# 1                Filed: 05/12/21                          Entered: 05/12/21 15:29:22                                    Page 10 of 61
 Fill in this information to identify the case:

 Debtor name         Gaia Interactive, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest
 2.        Cash on hand                                                                                                                                      $0.00



 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Silicon Valley Bank                                     Checking                        1219                                    $34,809.22



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                     $34,809.22
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit


           7.1.     Deposit with landlord, Augustine 101                                                                                             $6,000.00



 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
           Case: 21-50660                    Doc# 1            Filed: 05/12/21      Entered: 05/12/21 15:29:22                  Page 11 of 61
 Debtor         Gaia Interactive, Inc.                                                         Case number (If known)
                Name


 9.        Total of Part 2.                                                                                                                $6,000.00
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable


           11b. Over 90 days old:                               113,291.36   -                       113,291.36 =....                                $0.00
                                              face amount                        doubtful or uncollectible accounts



 12.       Total of Part 3.                                                                                                                     $0.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.

                                                                                                        Valuation method used      Current value of
                                                                                                        for current value          debtor's interest

 14.       Mutual funds or publicly traded stocks not included in Part 1
           Name of fund or stock:

 15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
           partnership, or joint venture
           Name of entity:                                               % of ownership
                     Pocketcom is a wholly owned subsidiary of
                     the Debtor, but is not fully developed and is
                     not operational. Book value is $1,315,671.
           15.1.     Liquidation value is zero.                                     100         %       Liquidation                            Unknown


                     Unravel is an investment project owned by
                     the Debtor that was partially developed as a
                     dating app and later abandoned in 2016.
                     The tax cost value of $4,236,781. The
           15.2.     liquidation value is zero.                                     100         %       Liquidation                                  $0.00



                     Gaia Online, LLC is a wholly owned
           15.3.     subsidiary of the Debtor.                                      100         %       Liquidation                                  $0.00



                     Ravel Labs, LLC is a wholly owned
           15.4.     subsidiary of the Debtor.                                      100         %       Liquidation                                  $0.00



 16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
           Describe:


 17.       Total of Part 4.                                                                                                                     $0.00
           Add lines 14 through 16. Copy the total to line 83.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 2
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
           Case: 21-50660                    Doc# 1            Filed: 05/12/21      Entered: 05/12/21 15:29:22                  Page 12 of 61
 Debtor         Gaia Interactive, Inc.                                                           Case number (If known)
                Name

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last           Net book value of      Valuation method used      Current value of
                                                      physical inventory         debtor's interest      for current value          debtor's interest
                                                                                 (Where available)

 19.       Raw materials

 20.       Work in progress

 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies
           Inventory                                                                     $17,766.00     Comparable sale                      $17,766.00



 23.       Total of Part 5.                                                                                                              $17,766.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                       Valuation method                        Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                   Net book value of      Valuation method used      Current value of
                                                                                 debtor's interest      for current value          debtor's interest
                                                                                 (Where available)

 39.       Office furniture

 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Office equipment and supplies                                                       $0.00    Depreciation                             $500.00


           Computer equipment                                                             Unknown       Depreciation                         $20,000.00

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 3
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
           Case: 21-50660                    Doc# 1            Filed: 05/12/21          Entered: 05/12/21 15:29:22              Page 13 of 61
 Debtor         Gaia Interactive, Inc.                                                        Case number (If known)
                Name




 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                               $20,500.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
              No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of       Valuation method used     Current value of
           property                                       extent of           debtor's interest       for current value         debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. Debtor leases the
                     commercial property
                     located at 2445
                     Augustine Drive,
                     Suite 150, Santa
                     Clara, CA, 95054 from
                     Augustine 101, 2445
                     Augustine Drive,
                     Santa Clara, CA                      Leasehold
                     95054.                               interest                     Unknown        N/A                                           $0.00




 56.       Total of Part 9.                                                                                                                     $0.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

 57.       Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.       Has any of the property listed in Part 9 been appraised by a professional within the last year?

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 4
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy
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 Debtor         Gaia Interactive, Inc.                                                        Case number (If known)
                Name


               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of      Valuation method used      Current value of
                                                                              debtor's interest      for current value          debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
            1 Patent - No. 7,695,370 - This patent has
            expired.                                                                        $0.00    Liquidation                                  $0.00


            Trademarks registered to Debtor:
            Gaia Online
            Gaia Gold
            Gaia Cash                                                                  Unknown       Liquidation                          $15,000.00



 61.        Internet domain names and websites
            Domain names:
            Gaiaonline.com
            Gaiainteractie.com
            playmonstergalaxy.com
            heraldsofchaos.com
            heraldsofchaos.net
            heraldsofchaos.org
            gaiaonline.org
            zomg.com
            gaiaonlinehelp.net
            gaiamarket.net
            gaiamarket.org
            gaia-marketing.com
            go-gaia.com
            ravellabs.com
            unravel.com
            playunravel.com                                                           $82,373.00     Liquidation                          $30,000.00



 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                           $45,000.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 5
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
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 Debtor         Gaia Interactive, Inc.                                                       Case number (If known)
                Name


               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                         Current value of
                                                                                                                         debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)
            Research and development tax credits - this asset has
            no liquidation value other than being used to offset
            future income taxes of the Debtor.                                                 Tax year Various                   $443,541.00



 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)

 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims

 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,
            country club membership

 78.        Total of Part 11.                                                                                                  $443,541.00
            Add lines 71 through 77. Copy the total to line 90.

 79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                            page 6
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            Case: 21-50660                   Doc# 1            Filed: 05/12/21      Entered: 05/12/21 15:29:22        Page 16 of 61
 Debtor          Gaia Interactive, Inc.                                                                              Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                            $34,809.22

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                   $6,000.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                               $17,766.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                          $20,500.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                  $45,000.00

 90. All other assets. Copy line 78, Part 11.                                                    +                $443,541.00

 91. Total. Add lines 80 through 90 for each column                                                            $567,616.22           + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $567,616.22




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 7
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                                 Best Case Bankruptcy
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                                                                     Gaia Interactive Inc.
                                                                      A/R Aging Detail
                                                                          As of March 31, 2021

                                         Transaction
                              Date          Type                    Num                                  Customer              Due Date    Amount           Open Balance
91 or more days past due
                           11/30/2004   Journal Entry   Adj 5                     Burst!Media                                 11/30/2004       4,079.59            4,079.59
                           12/31/2004   Journal Entry   Aje#61                    AR reserve                                  12/31/2004       -4,671.57          -4,671.57
                           12/31/2004   Journal Entry   adj#144                   AR reserve                                  12/31/2004       4,671.57            4,671.57
                           03/31/2005   Journal Entry   Adj 6                     Burst!Media                                 03/31/2005       -4,079.59          -4,079.59
                           12/31/2005   Journal Entry   Aje#63                    AR reserve                                  12/31/2005       -8,273.52          -8,273.52
                           12/31/2005   Journal Entry   adj#145                   AR reserve                                  12/31/2005       -4,671.57          -4,671.57
                           12/31/2005   Journal Entry   Aje#62                    AR reserve                                  12/31/2005       4,671.57            4,671.57
                           12/31/2005   Journal Entry   adj#145-A                 AR reserve                                  12/31/2005       8,273.52            8,273.52
                           03/31/2006   Journal Entry   Aje#65                    AR reserve                                  03/31/2006      -11,441.52         -11,441.52
                           03/31/2006   Journal Entry   Aje#64                    AR reserve                                  03/31/2006       8,273.52            8,273.52
                           03/31/2006   Journal Entry   adj#147                   AR reserve                                  03/31/2006      11,441.52           11,441.52
                           06/30/2006   Journal Entry   Aje#67                    AR reserve                                  06/30/2006      -15,258.23         -15,258.23
                           06/30/2006   Journal Entry   adj#148                   AR reserve                                  06/30/2006      -11,441.52         -11,441.52
                           06/30/2006   Journal Entry   Aje#66                    AR reserve                                  06/30/2006      11,441.52           11,441.52
                           06/30/2006   Journal Entry   adj#148A                  AR reserve                                  06/30/2006      15,258.23           15,258.23
                           09/30/2006   Journal Entry   Aje#69                    AR reserve                                  09/30/2006      -18,027.28         -18,027.28
                           09/30/2006   Journal Entry   adj#149                   AR reserve                                  09/30/2006      -15,258.23         -15,258.23
                           09/30/2006   Journal Entry   Aje#68                    AR reserve                                  09/30/2006      15,258.23           15,258.23
                           09/30/2006   Journal Entry   adj#149-A                 AR reserve                                  09/30/2006      18,027.28           18,027.28
                           12/31/2006   Journal Entry   Aje#71                    AR reserve                                  12/31/2006      -32,095.03         -32,095.03
                           12/31/2006   Journal Entry   adj#150                   AR reserve                                  12/31/2006      -18,027.28         -18,027.28
                           12/31/2006   Journal Entry   adj#146                   AR reserve                                  12/31/2006       -8,273.52          -8,273.52
                           12/31/2006   Journal Entry   Aje#60                    AR reserve                                  12/31/2006       -5,910.66          -5,910.66
                           12/31/2006   Journal Entry   adj#151                   AR reserve                                  12/31/2006       5,910.66            5,910.66
                           12/31/2006   Journal Entry   Aje#70                    AR reserve                                  12/31/2006      18,027.28           18,027.28
                           12/31/2006   Journal Entry   adj#150-A                 AR reserve                                  12/31/2006      32,095.03           32,095.03
                           09/20/2007   Invoice         796                       Beyond Interactive                          09/20/2007      59,850.00           59,850.00
                           09/30/2007   Journal Entry   9-45-07                   Beyond Interactive                          09/30/2007      -59,850.00         -59,850.00
                           10/31/2007   Journal Entry   10-44-07                  InComm-Interactive Communicatons Intl. In   10/31/2007     182,016.45          182,016.45
                           11/23/2007   Credit Memo     812                       Beyond Interactive                          11/23/2007      -59,850.00         -59,850.00
                           11/23/2007   Journal Entry   11-52-07                  Beyond Interactive                          11/23/2007      59,850.00           59,850.00
                           11/30/2007   Journal Entry   11-46-07                  InComm-Interactive Communicatons Intl. In   11/30/2007     -182,016.45        -182,016.45
                           11/30/2007   Journal Entry   11-44-07                  InComm-Interactive Communicatons Intl. In   11/30/2007     281,377.00          281,377.00
                           12/31/2007   Journal Entry   12-46-07                  InComm-Interactive Communicatons Intl. In   12/31/2007     -281,377.00        -281,377.00
                           12/31/2007   Journal Entry   adj.16-07                 AR reserve                                  12/31/2007      -25,000.00         -25,000.00
                           12/31/2007   Journal Entry   4-12-07                   AR reserve                                  12/31/2007      14,500.00           14,500.00
                           10/31/2008   Journal Entry   10-9-08                   AR reserve                                  10/31/2008       5,500.00            5,500.00
                           11/24/2008   Invoice         1104                      Plastyc                                     12/24/2008     115,000.00          115,000.00
                           12/31/2008   Journal Entry   Adj #1                    Plastyc                                     12/31/2008     -115,000.00        -115,000.00
                           12/31/2008   Journal Entry   12-71-08                  AR reserve                                  12/31/2008      -38,010.00         -38,010.00
                           01/05/2009   Journal Entry   1-46-09                   AR reserve                                  01/05/2009       5,000.00            5,000.00
                           03/31/2009   Journal Entry   3-99-09                   AR reserve                                  03/31/2009      -12,000.00         -12,000.00
                           03/31/2009   Invoice         1219                      Pacific Printing & Fulfillment Inc.         03/31/2009      90,000.00           45,000.00
                           04/01/2009   Journal Entry   4-6-09                    AR reserve                                  04/01/2009      12,000.00           12,000.00
                           04/29/2009   Journal Entry   4-7-09                    AR reserve                                  04/29/2009      38,010.00           38,010.00
                           12/31/2009   Journal Entry   12-8-09                   Pacific Printing & Fulfillment Inc.         12/31/2009      -45,000.00         -45,000.00
                           08/31/2011   Invoice         2191                      Matomy                                      09/30/2011       2,329.47               75.62
                           09/30/2011   Invoice         2204                      Matomy                                      10/30/2011       8,683.53             464.80
                           10/31/2011   Invoice         2262                      Matomy                                      11/30/2011       5,915.79             161.39
                           11/30/2011   Invoice         2292                      Matomy                                      12/30/2011       6,352.86             149.78
                           12/31/2011   Invoice         2329                      Matomy                                      01/30/2012       4,414.37             354.67
                           01/31/2012   Invoice         2360                      Matomy                                      03/01/2012       3,842.41               66.91
                           02/29/2012   Invoice         2397                      Matomy                                      03/30/2012       4,008.35               77.44
                           03/29/2012   Invoice         2421                      Double Fusion/blue noodle                   04/28/2012      10,027.75           10,027.75
                           03/31/2012   Invoice         2430                      Matomy                                      04/30/2012       4,545.77               78.51
                           04/30/2012   Journal Entry   04-54-12                  Double Fusion/blue noodle                   04/30/2012      -10,027.75         -10,027.75
                           04/30/2012   Invoice         2477                      Viximo                                      05/30/2012            11.06             11.06
                           04/30/2012   Invoice         2470                      Matomy                                      05/30/2012       4,221.13             102.84
                           05/31/2012   Invoice         2505                      Viximo                                      06/30/2012         132.88             132.88
                           05/31/2012   Invoice         2514                      Direct Agents Inc                           06/30/2012         141.25             141.25
                           05/31/2012   Invoice         2501                      Matomy                                      06/30/2012       5,030.76             191.51
                           07/16/2012   Journal Entry   07-20-12b                 Pacific Printing & Fulfillment Inc.         07/16/2012      -45,000.00         -45,000.00
                           07/16/2012   Journal Entry   07-20-12d                 Double Fusion/blue noodle                   07/16/2012      -10,027.75         -10,027.75
                           07/16/2012   Journal Entry   07-20-12c                 Double Fusion/blue noodle                   07/16/2012      10,027.75           10,027.75
                           07/16/2012   Journal Entry   07-20-12a                 Pacific Printing & Fulfillment Inc.         07/16/2012      45,000.00           45,000.00
                           06/30/2012   Invoice         2531                      Matomy                                      07/30/2012       2,487.10             161.41
                           07/31/2012   Invoice         2588                      Tapjoy, Inc. (A)                            08/30/2012       1,260.70             841.46
                           07/31/2012   Invoice         2573                      Matomy                                      08/30/2012       1,432.57               78.99
                           08/31/2012   Invoice         2612                      Matomy                                      09/30/2012            10.08              1.62
                           08/31/2012   Invoice         2617                      Tapjoy, Inc. (A)                            09/30/2012         445.09             445.09
                           09/30/2012   Invoice         2645                      Tapjoy, Inc. (A)                            10/30/2012         241.99             241.99
                           11/15/2012   Journal Entry   11-44-12                  Viximo                                      11/15/2012         -143.94            -143.94
                           11/15/2012   Journal Entry   11-43-12                  Direct Agents Inc                           11/15/2012         -141.25            -141.25
                           10/31/2012   Invoice         2705                      Tapjoy, Inc. (A)                            11/30/2012         307.17             307.17
                           11/30/2012   Invoice         2750                      Tapjoy, Inc. (A)                            12/30/2012         544.61             298.24
                           12/31/2012   Journal Entry   12-28-12                  Matomy                                      12/31/2012       -1,965.49          -1,965.49




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             12/31/2012   Invoice         2787             Tapjoy, Inc. (A)                  01/30/2013       113.89        113.89
             02/22/2013   Journal Entry   02-13-13         Tapjoy, Inc. (A)                  02/22/2013     -2,133.95     -1,861.32
             01/31/2013   Invoice         2830             Tapjoy, Inc. (A)                  03/02/2013         3.73          3.73
             04/30/2013   Invoice         2959             Matomy                            05/30/2013        11.58         11.58
             05/31/2013   Payment         wire             Criteo PM                         05/31/2013       -366.36         -0.01
             05/31/2013   Invoice         3024             Oridian                           05/31/2013        53.02         53.02
             05/31/2013   Invoice         2994             Peanut Labs                       06/30/2013         9.10          9.10
             05/31/2013   Invoice         2999             Matomy                            06/30/2013        10.04         10.04
             06/30/2013   Invoice         3064             Oridian                           06/30/2013         9.26          9.26
             06/30/2013   Invoice         3062             Smaato                            06/30/2013       133.69        133.69
             06/30/2013   Invoice         3043             Matomy                            07/30/2013        17.65         17.65
             06/30/2013   Invoice         3038             Peanut Labs                       07/30/2013        19.76         19.76
             07/30/2013   Payment         ACH 07.30.2013   Criteo PM                         07/30/2013       -573.81         -0.01
             07/31/2013   Journal Entry   07-13-13         Tapjoy, Inc. (A)                  07/31/2013       -940.91       -940.91
             07/31/2013   Invoice         3092             Federated Media / LIJIT FM        08/30/2013        19.44         19.44
             07/31/2013   Invoice         3100             Peanut Labs                       08/30/2013        35.10         35.10
             07/31/2013   Invoice         3106             Matomy                            08/30/2013        52.16         52.16
             08/30/2013   Payment         ACH 08/30/13     Criteo PM                         08/30/2013       -242.92         -0.01
             07/31/2013   Invoice         3108             Tapjoy, Inc. (A)                  09/29/2013       832.01         15.00
             08/31/2013   Invoice         3140             Peanut Labs                       09/30/2013         4.10          4.10
             08/31/2013   Invoice         3145             Matomy                            09/30/2013        40.10         39.15
             08/31/2013   Invoice         3154             Tapjoy, Inc. (A)                  09/30/2013       704.19         15.00
             09/30/2013   Invoice         3192             Tapjoy, Inc. (A)                  10/30/2013       719.78         15.00
             12/17/2013   Journal Entry   12-25k-13        Smaato                            12/17/2013       -133.69       -133.69
             12/17/2013   Journal Entry   12-25d-13        Matomy                            12/17/2013       -130.58       -130.58
             12/17/2013   Journal Entry   12-25f-13        Peanut Labs                       12/17/2013        -68.06        -68.06
             12/17/2013   Journal Entry   12-25e-13        Oridian                           12/17/2013        -62.28        -62.28
             12/17/2013   Journal Entry   12-25c-13        Federated Media / LIJIT FM        12/17/2013        -19.44        -19.44
             12/17/2013   Journal Entry   12-25l-13        Criteo PM                         12/17/2013         0.03          0.03
             12/17/2013   Journal Entry   12-25-13         Amazon                            12/17/2013        15.48          4.59
             12/17/2013   Journal Entry   12-25b-13        Chartboost, Inc. (A)              12/17/2013        53.21         53.21
             12/17/2013   Journal Entry   12-25i-13        Tapjoy, Inc. (A)                  12/17/2013       531.92        531.92
             12/31/2013   Journal Entry   12-4a-13         6000-GaiaVirtualGoods             12/31/2013    61,635.49     61,635.49
             01/01/2014   Journal Entry   12-4a-13R        6000-GaiaVirtualGoods             01/01/2014    -61,635.49    -61,635.49
             01/31/2014   Journal Entry   01-4a-14         6000-GaiaVirtualGoods             01/31/2014    95,275.84     95,275.84
             02/01/2014   Journal Entry   01-4a-14R        6000-GaiaVirtualGoods             02/01/2014    -95,275.84    -95,275.84
             02/28/2014   Journal Entry   02-4a-14         6000-GaiaVirtualGoods             02/28/2014   186,424.21    186,424.21
             03/01/2014   Journal Entry   03-4a-14R        6000-GaiaVirtualGoods             03/01/2014   -186,424.21   -186,424.21
             03/31/2014   Journal Entry   03-4a-14         6000-GaiaVirtualGoods             03/31/2014   107,149.53    107,149.53
             04/01/2014   Journal Entry   03-4a-14R        6000-GaiaVirtualGoods             04/01/2014   -107,149.53   -107,149.53
             04/30/2014   Journal Entry   04-4b-14         6000-GaiaVirtualGoods             04/30/2014       216.98        216.98
             04/30/2014   Journal Entry   04-4a-14         6000-GaiaVirtualGoods             04/30/2014   418,265.46    418,265.46
             05/01/2014   Journal Entry   04-4a-14R        6000-GaiaVirtualGoods             05/01/2014   -418,265.46   -418,265.46
             05/01/2014   Journal Entry   04-4b-14R        6000-GaiaVirtualGoods             05/01/2014       -216.98       -216.98
             05/31/2014   Journal Entry   05-4b-14         6000-GaiaVirtualGoods             05/31/2014       185.91        185.91
             05/31/2014   Journal Entry   05-4a-14         6000-GaiaVirtualGoods             05/31/2014   145,489.88    145,489.88
             06/01/2014   Journal Entry   05-4a-14R        6000-GaiaVirtualGoods             06/01/2014   -145,489.88   -145,489.88
             06/01/2014   Journal Entry   05-4b-14R        6000-GaiaVirtualGoods             06/01/2014       -185.91       -185.91
             06/30/2014   Journal Entry   06-4b-14         6000-GaiaVirtualGoods             06/30/2014       170.74        170.74
             06/30/2014   Journal Entry   06-4a-14         6000-GaiaVirtualGoods             06/30/2014   105,887.62    105,887.62
             07/01/2014   Journal Entry   06-4a-14R        6000-GaiaVirtualGoods             07/01/2014   -105,887.62   -105,887.62
             07/01/2014   Journal Entry   06-4b-14R        6000-GaiaVirtualGoods             07/01/2014       -170.74       -170.74
             07/31/2014   Journal Entry   07-4b-14         6000-GaiaVirtualGoods             07/31/2014       101.29        101.29
             07/31/2014   Journal Entry   07-4a-14         6000-GaiaVirtualGoods             07/31/2014    88,273.98     88,273.98
             08/01/2014   Journal Entry   07-4a-14R        6000-GaiaVirtualGoods             08/01/2014    -88,273.98    -88,273.98
             08/01/2014   Journal Entry   07-4b-14R        6000-GaiaVirtualGoods             08/01/2014       -101.29       -101.29
             08/31/2014   Journal Entry   08-4b-14         6000-GaiaVirtualGoods             08/31/2014         6.25          6.25
             08/31/2014   Journal Entry   08-4a-14         6000-GaiaVirtualGoods             08/31/2014   171,541.61    171,541.61
             09/01/2014   Journal Entry   08-4a-14R        6000-GaiaVirtualGoods             09/01/2014   -151,586.10   -151,586.10
             09/01/2014   Journal Entry   08-4b-14R        6000-GaiaVirtualGoods             09/01/2014         -6.25         -6.25
             09/30/2014   Journal Entry   09-4b-14         6000-GaiaVirtualGoods             09/30/2014        33.72         33.72
             09/30/2014   Journal Entry   09-4a-14         6000-GaiaVirtualGoods             09/30/2014   114,095.46    114,095.46
             10/01/2014   Journal Entry   09-4a-14         6000-GaiaVirtualGoods             10/01/2014   -114,095.46   -114,095.46
             10/01/2014   Journal Entry   09-4b-14R        6000-GaiaVirtualGoods             10/01/2014        -33.72        -33.72
             10/31/2014   Journal Entry   10-4b-14         6000-GaiaVirtualGoods             10/31/2014        15.75         15.75
             10/31/2014   Journal Entry   10-4a-14         6000-GaiaVirtualGoods             10/31/2014   103,970.22    103,970.22
             11/01/2014   Journal Entry   10-4a-14R        6000-GaiaVirtualGoods             11/01/2014   -103,970.22   -103,970.22
             11/04/2014   Payment         WIRE11/4/14      Virool                            11/04/2014     -7,162.73     -1,220.76
             11/30/2014   Journal Entry   11-4d-14         6000-GaiaVirtualGoods             11/30/2014    67,530.95     67,530.95
             11/30/2014   Journal Entry   11-4a-14         6000-GaiaVirtualGoods             11/30/2014   128,888.93    128,888.93
             12/15/2014   Payment         ACH 12/15/14     Zeevex                            12/15/2014     -3,385.27        -41.02
             12/31/2014   Journal Entry   11-4a-14R        6000-GaiaVirtualGoods             12/31/2014   -128,888.93   -128,888.93
             12/31/2014   Journal Entry   11-4d-14R        6000-GaiaVirtualGoods             12/31/2014    -67,530.95    -67,530.95
             12/31/2014   Journal Entry   12-4c-14         6000-GaiaVirtualGoods             12/31/2014    -10,049.50    -10,049.50
             12/31/2014   Journal Entry   12-4b-14         6000-GaiaVirtualGoods             12/31/2014     -9,921.76     -9,921.76
             12/31/2014   Journal Entry   12-4a-14         6000-GaiaVirtualGoods             12/31/2014    87,298.40     87,298.40
             01/01/2015   Journal Entry   12-4a-14R        6000-GaiaVirtualGoods             01/01/2015    -87,298.40    -87,298.40
             01/02/2015   Payment         ACH 01/02/15     Rixty                             01/02/2015     -3,382.50       -806.40
             01/14/2015   Payment         ACH 01/14/15     Zeevex                            01/14/2015     -2,868.63        -28.70
             01/30/2015   Payment         ACH 01/30/15     Rixty                             01/30/2015       -993.10       -993.10
             01/31/2015   Journal Entry   1-4a-15          6000-GaiaVirtualGoods             01/31/2015   141,806.84    141,806.84
             02/01/2015   Journal Entry   1-4a-15R         6000-GaiaVirtualGoods             02/01/2015   -141,806.84   -141,806.84
             12/31/2014   Invoice         3775             Flurry, Inc. (A)                  02/14/2015       100.92          6.51




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             02/28/2015   Journal Entry   02-4a-15         6000-GaiaVirtualGoods                       02/28/2015   142,089.46    142,089.46
             03/01/2015   Journal Entry   02-4a-15R        6000-GaiaVirtualGoods                       03/01/2015   -142,089.46   -142,089.46
             01/31/2015   Invoice         3811             Flurry, Inc. (A)                            03/17/2015        74.06         74.06
             03/31/2015   Journal Entry   03-4a-15         6000-GaiaVirtualGoods                       03/31/2015    41,291.65     41,291.65
             04/01/2015   Journal Entry   03-4a-15R        6000-GaiaVirtualGoods                       04/01/2015    -41,291.65    -41,291.65
             02/28/2015   Invoice         3823             Flurry, Inc. (A)                            04/14/2015        62.06         62.06
             04/30/2015   Journal Entry   04-4a-15         6000-GaiaVirtualGoods                       04/30/2015    51,732.41     51,732.41
             05/01/2015   Journal Entry   04-4a-15R        6000-GaiaVirtualGoods                       05/01/2015    -51,732.41    -51,732.41
             03/31/2015   Invoice         3861             Flurry, Inc. (A)                            05/15/2015        52.68         52.68
             04/30/2015   Invoice         3915             Volume 11/Gambit                            05/15/2015        11.83         11.83
             05/31/2015   Journal Entry   05-4a-15         6000-GaiaVirtualGoods                       05/31/2015    77,828.48     77,828.48
             06/01/2015   Journal Entry   05-4a-15R        6000-GaiaVirtualGoods                       06/01/2015    -77,828.48    -77,828.48
             06/22/2015   Payment         Chk # 9925       Virtual Label, LLC                          06/22/2015        -57.47         -7.57
             06/30/2015   Journal Entry   06-4a-15         6000-GaiaVirtualGoods                       06/30/2015    30,556.87     30,556.87
             07/15/2015   Payment         ACH 07/15/15     Zeevex                                      07/15/2015         -1.68         -1.68
             07/16/2015   Payment         ACH 07/16/15     AdTech Marketplace                          07/16/2015    -10,084.08       -158.65
             07/31/2015   Journal Entry   06-4a-15R        6000-GaiaVirtualGoods                       07/31/2015    -30,556.87    -30,556.87
             07/31/2015   Payment         ACH 07/31/15     Rixty                                       07/31/2015       -395.00         -2.50
             07/31/2015   Journal Entry   07-4a-15         6000-GaiaVirtualGoods                       07/31/2015    44,417.45     44,417.45
             08/01/2015   Journal Entry   07-4a-15R        6000-GaiaVirtualGoods                       08/01/2015    -44,417.45    -44,417.45
             08/18/2015   Payment         ACH 08/1/15      AdTech Marketplace                          08/18/2015    -12,875.58     -1,204.14
             08/31/2015   Journal Entry   08-4a-15         6000-GaiaVirtualGoods                       08/31/2015    37,901.32     37,901.32
             09/01/2015   Journal Entry   08-4a-15R        6000-GaiaVirtualGoods                       09/01/2015    -37,901.32    -37,901.32
             09/01/2015   Payment         ACH 09/01/15     Sponsorpay                                  09/01/2015     -1,026.62        -15.50
             09/16/2015   Payment         ACH 09/16/15     AdTech Marketplace                          09/16/2015     -9,891.30       -941.44
             09/30/2015   Payment         ACH 09/30/15     Sponsorpay                                  09/30/2015     -1,605.87     -1,605.87
             09/30/2015   Journal Entry   09-4a-15         6000-GaiaVirtualGoods                       09/30/2015    41,299.55     41,299.55
             10/01/2015   Journal Entry   09-4a-15R        6000-GaiaVirtualGoods                       10/01/2015    -41,299.55    -41,299.55
             10/02/2015   Payment         ACH 10/02/15     Federated Media / LIJIT FM                  10/02/2015     -9,201.22        -86.07
             10/16/2015   Payment         ACH 10/16/15     AdTech Marketplace                          10/16/2015     -9,965.33       -928.44
             07/31/2015   Invoice         4015             Say Media/Videoegg                          10/29/2015     3,505.12      3,505.12
             10/29/2015   Payment         Chk # 31976      PubMatic                                    10/29/2015     -3,634.01       -104.90
             10/30/2015   Payment         ACH 10/30/2015   Sponsorpay                                  10/30/2015     -1,746.00        -46.00
             10/31/2015   Journal Entry   10-4b-15         Paypal                                      10/31/2015    14,543.20     14,543.20
             10/31/2015   Journal Entry   10-4a-15         6000-GaiaVirtualGoods                       10/31/2015    57,044.85     57,044.85
             11/01/2015   Journal Entry   10-4a-15R        6000-GaiaVirtualGoods                       11/01/2015    -57,044.85    -57,044.85
             11/02/2015   Payment         ACH 11/02/15     Chartboost, Inc. (A)                        11/02/2015       -502.80        -14.73
             11/16/2015   Payment         32154            PubMatic                                    11/16/2015     -3,875.46        -20.22
             11/17/2015   Payment         ACH 11/17/15     AdTech Marketplace                          11/17/2015    -12,889.19     -1,113.16
             11/17/2015   Deposit                          Solve Media                                 11/17/2015     -1,028.35       -513.59
             08/31/2015   Invoice         4048             Say Media/Videoegg                          11/29/2015     3,488.90      3,488.90
             11/30/2015   Payment                          Sponsorpay                                  11/30/2015     -3,328.31        -28.31
             11/30/2015   Journal Entry   11-4b-15         Paypal                                      11/30/2015    23,970.48     23,970.48
             11/30/2015   Journal Entry   11-4a-15         6000-GaiaVirtualGoods                       11/30/2015    40,720.67     40,720.67
             12/01/2015   Journal Entry   11-4a-15R        6000-GaiaVirtualGoods                       12/01/2015    -40,720.67    -40,720.67
             12/01/2015   Payment                          Chartboost, Inc. (A)                        12/01/2015       -679.28        -38.48
             12/14/2015   Payment                          PubMatic                                    12/14/2015     -3,468.12        -22.74
             12/16/2015   Payment                          AdTech Marketplace                          12/16/2015    -10,064.14       -742.45
             12/16/2015   Payment                          Paymentwall, Inc.                           12/16/2015     -4,024.42       -405.44
             12/17/2015   Credit Memo     4159             SV Networks                                 12/17/2015     -2,837.42     -1,425.48
             09/30/2015   Invoice         4082             Say Media/Videoegg                          12/29/2015     3,152.96      3,152.96
             12/31/2015   Journal Entry   12-4b-15         Paypal                                      12/31/2015    23,305.03     23,305.03
             12/31/2015   Journal Entry   12-4a-15         6000-GaiaVirtualGoods                       12/31/2015    32,634.89     32,634.89
             01/01/2016   Journal Entry   12-4a-15R        6000-GaiaVirtualGoods                       01/01/2016    -32,634.89    -32,634.89
             01/14/2016   Payment                          InComm-Interactive Communicatons Intl. In   01/14/2016       -580.75         -3.25
             01/15/2016   Payment                          Solve Media                                 01/15/2016     -1,202.72       -722.60
             01/19/2016   Payment                          AdTech Marketplace                          01/19/2016    -14,202.52     -1,206.49
             01/28/2016   Payment                          Rixty                                       01/28/2016     -1,071.50       -359.00
             10/31/2015   Invoice         4112             Say Media/Videoegg                          01/29/2016     3,383.91      3,383.91
             01/31/2016   Journal Entry   1-4d-16          Paypal                                      01/31/2016    -10,691.11    -10,691.11
             01/31/2016   Journal Entry   1-4f-16          Paypal                                      01/31/2016     -3,096.06     -3,096.06
             01/31/2016   Journal Entry   1-4e-16          6000-GaiaVirtualGoods                       01/31/2016     3,096.06      3,096.06
             01/31/2016   Journal Entry   1-4b-16          Paypal                                      01/31/2016    24,928.31     24,928.31
             01/31/2016   Journal Entry   1-4a-16          6000-GaiaVirtualGoods                       01/31/2016    90,242.55     90,242.55
             02/01/2016   Journal Entry   1-4a-16R         6000-GaiaVirtualGoods                       02/01/2016    -90,242.55    -90,242.55
             02/01/2016   Journal Entry   1-4e-16R         6000-GaiaVirtualGoods                       02/01/2016     -3,096.06     -3,096.06
             02/02/2016   Payment                          Federated Media / LIJIT FM                  02/02/2016     -1,325.97         -0.51
             02/05/2016   Payment                          Paymentwall, Inc.                           02/05/2016       -450.59       -228.68
             02/16/2016   Deposit                          Unknown customer                            02/16/2016       -981.95       -981.95
             02/17/2016   Payment                          AdTech Marketplace                          02/17/2016    -20,790.53     -1,664.81
             02/18/2016   Payment                          Virool                                      02/18/2016    -24,394.74     -1,800.69
             02/25/2016   Payment                          Solve Media                                 02/25/2016     -1,395.57       -984.40
             02/25/2016   Deposit                          Solve Media                                 02/25/2016       -517.69       -517.69
             11/30/2015   Invoice         4136             Say Media/Videoegg                          02/28/2016     1,786.80      1,786.80
             02/29/2016   Journal Entry   2-4d-16          Paypal                                      02/29/2016    -72,959.85    -72,959.85
             02/29/2016   Journal Entry   2-4a-16          6000-GaiaVirtualGoods                       02/29/2016    45,665.65     45,665.65
             01/31/2016   Invoice         4220             Tapjoy, Inc. (A)                            03/01/2016       399.97          1.99
             03/01/2016   Journal Entry   2-4a-16R         6000-GaiaVirtualGoods                       03/01/2016    -45,665.65    -45,665.65
             03/02/2016   Payment                          Federated Media / LIJIT FM                  03/02/2016     -1,347.80         -0.98
             03/11/2016   Deposit                          Solve Media                                 03/11/2016     -1,282.03     -1,282.03
             03/11/2016   Payment                          Solve Media                                 03/11/2016       -384.97         -0.26
             03/17/2016   Payment                          AdTech Marketplace                          03/17/2016     -5,660.61       -404.54
             03/25/2016   Deposit                          Solve Media                                 03/25/2016       -411.17       -411.17




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             12/31/2015   Invoice         4166          Say Media/Videoegg                03/30/2016    1,626.91     1,626.91
             12/31/2015   Invoice         4175          SV Networks                       03/30/2016    5,118.26     3,282.70
             02/29/2016   Invoice         4234          Funcaptcha                        03/30/2016       61.95        61.95
             03/30/2016   Payment                       Sponsorpay                        03/30/2016    -1,527.73       -27.73
             03/31/2016   Journal Entry   3-4a-16       6000-GaiaVirtualGoods             03/31/2016   43,915.81    43,915.81
             04/01/2016   Journal Entry   3-4a-16R      6000-GaiaVirtualGoods             04/01/2016   -43,915.81   -43,915.81
             02/29/2016   Invoice         4242          Virool                            04/14/2016    2,549.57     1,049.57
             04/15/2016   Deposit                       Goodgames                         04/15/2016     -686.38      -485.62
             04/18/2016   Payment                       AdTech Marketplace                04/18/2016    -6,790.20     -552.60
             01/31/2016   Invoice         4198          Say Media/Videoegg                04/30/2016    2,481.82     2,481.82
             04/30/2016   Journal Entry   4-4a-16       6000-GaiaVirtualGoods             04/30/2016   53,820.09    53,820.09
             05/01/2016   Journal Entry   4-4a-16R      6000-GaiaVirtualGoods             05/01/2016   -53,820.09   -53,820.09
             05/02/2016   Payment                       Federated Media / LIJIT FM        05/02/2016    -1,661.54        -4.03
             05/02/2016   Payment                       Chartboost, Inc. (A)              05/02/2016     -989.90         -0.04
             05/05/2016   Payment                       Paymentwall, Inc.                 05/05/2016     -243.25        -44.64
             05/13/2016   Payment                       PubMatic                          05/13/2016    -2,428.08        -7.28
             03/31/2016   Invoice         4268          Virool                            05/15/2016    1,043.08     1,043.08
             05/17/2016   Payment                       AdTech Marketplace                05/17/2016    -8,079.11     -711.96
             05/25/2016   Payment                       Solve Media                       05/25/2016     -839.54      -114.63
             02/29/2016   Invoice         4229          Say Media/Videoegg                05/29/2016      728.66       728.66
             04/30/2016   Invoice         4315          Tapjoy, Inc. (A)                  05/30/2016      301.77       301.77
             05/31/2016   Journal Entry   5-4a-16       6000-GaiaVirtualGoods             05/31/2016   36,431.02    36,431.02
             06/01/2016   Journal Entry   5-4a-16R      6000-GaiaVirtualGoods             06/01/2016   -36,431.02   -36,431.02
             06/01/2016   Payment                       Sponsorpay                        06/01/2016    -1,419.44       -19.44
             06/01/2016   Payment                       Chartboost, Inc. (A)              06/01/2016    -1,188.71        -0.02
             06/02/2016   Payment                       Federated Media / LIJIT FM        06/02/2016    -1,162.00        -4.88
             06/07/2016   Payment                       Say Media/Videoegg                06/07/2016    -7,286.37     -473.62
             04/30/2016   Invoice         4301          Virool                            06/14/2016      465.71       465.71
             06/16/2016   Payment                       AdTech Marketplace                06/16/2016    -5,437.68     -431.87
             06/16/2016   Payment                       Goodgames                         06/16/2016     -906.93        -65.84
             03/31/2016   Invoice         4282          Say Media/Videoegg                06/29/2016      932.11       932.11
             05/31/2016   Invoice         4349          Tapjoy, Inc. (A)                  06/30/2016      290.94       290.94
             06/30/2016   Journal Entry   6-4a-16       6000-GaiaVirtualGoods             06/30/2016   39,588.92    39,588.92
             07/01/2016   Journal Entry   6-4a-16R      6000-GaiaVirtualGoods             07/01/2016   -39,588.92   -39,588.92
             07/05/2016   Payment                       Federated Media / LIJIT FM        07/05/2016     -926.45         -0.02
             07/18/2016   Payment                       AdTech Marketplace                07/18/2016    -6,383.78     -584.38
             07/18/2016   Payment                       Goodgames                         07/18/2016     -782.59      -155.91
             07/26/2016   Deposit                       Virtual Label, LLC                07/26/2016       -70.03        -0.49
             04/30/2016   Invoice         4289          Say Media/Videoegg                07/29/2016    1,475.68     1,475.68
             06/30/2016   Invoice         4377          Tapjoy, Inc. (A)                  07/30/2016      273.47       273.47
             07/31/2016   Journal Entry   7-4a-16       6000-GaiaVirtualGoods             07/31/2016   60,235.75    60,235.75
             08/01/2016   Journal Entry   7-4a-16R      6000-GaiaVirtualGoods             08/01/2016   -60,235.75   -60,235.75
             08/03/2016   Payment                       SV Networks                       08/03/2016    -7,906.16        -5.95
             08/08/2016   Payment                       Paymentwall, Inc.                 08/08/2016     -287.00        -41.99
             08/15/2016   Payment                       Goodgames                         08/15/2016     -568.18         -9.36
             08/16/2016   Payment                       AdTech Marketplace                08/16/2016    -7,566.57     -413.48
             08/16/2016   Payment                       SV Networks                       08/16/2016    -5,704.91       -24.39
             08/26/2016   Payment                       Solve Media                       08/26/2016    -1,046.97     -498.89
             05/31/2016   Invoice         4325          Say Media/Videoegg                08/29/2016    1,346.50     1,346.50
             07/31/2016   Invoice         4415          Tapjoy, Inc. (A)                  08/30/2016      290.94        72.74
             08/31/2016   Journal Entry   8-4a-16       6000-GaiaVirtualGoods             08/31/2016   43,169.66    43,169.66
             09/01/2016   Journal Entry   8-4a-16R      6000-GaiaVirtualGoods             09/01/2016   -43,169.66   -43,169.66
             09/01/2016   Payment                       Sponsorpay                        09/01/2016    -1,125.89       -25.89
             09/02/2016   Payment                       Federated Media / LIJIT FM        09/02/2016     -311.30         -0.02
             09/12/2016   Deposit                       CopyQuest                         09/12/2016       -15.00       -15.00
             09/16/2016   Payment                       AdTech Marketplace                09/16/2016    -5,000.18     -295.68
             09/19/2016   Deposit                       Virool                            09/19/2016     -500.00        -20.11
             06/30/2016   Invoice         4356          Say Media/Videoegg                09/28/2016      449.85       449.85
             09/30/2016   Payment                       Chartboost, Inc. (A)              09/30/2016     -650.88         -0.01
             09/30/2016   Journal Entry   9-4a-16       6000-GaiaVirtualGoods             09/30/2016   42,088.28    42,088.28
             10/01/2016   Journal Entry   9-4a-16R      6000-GaiaVirtualGoods             10/01/2016   -42,088.28   -42,088.28
             10/03/2016   Payment                       Federated Media / LIJIT FM        10/03/2016     -512.51         -0.04
             10/05/2016   Payment                       SV Networks                       10/05/2016    -3,255.91        -3.17
             10/11/2016   Payment                       InComm Canada                     10/11/2016       -70.20       -54.48
             10/14/2016   Payment                       Goodgames                         10/14/2016     -904.72      -519.82
             08/31/2016   Invoice         4433          Virool                            10/15/2016       58.24        58.24
             10/18/2016   Payment                       AdTech Marketplace                10/18/2016    -4,871.13     -320.67
             10/24/2016   Deposit                       Supersonic                        10/24/2016    -5,620.35     -107.70
             10/24/2016   Journal Entry   10-01.1-16    Flurry, Inc. (A)                  10/24/2016     -195.31      -195.31
             10/24/2016   Journal Entry   10-01.1b-16   Funcaptcha                        10/24/2016       -61.95       -61.95
             10/24/2016   Journal Entry   10-01.1a-16   Volume 11/Gambit                  10/24/2016       -11.83       -11.83
             10/24/2016   Deposit                       Swagbucks.com                     10/24/2016        -0.01        -0.01
             10/27/2016   Payment                       Solve Media                       10/27/2016     -848.14      -548.10
             10/28/2016   Payment                       Sponsorpay                        10/28/2016     -421.47         -5.08
             07/31/2016   Invoice         4389          Say Media/Videoegg                10/29/2016      234.65       234.65
             08/31/2016   Invoice         4427          Paymentwall, Inc.                 10/30/2016      226.57       226.57
             10/31/2016   Payment                       Chartboost, Inc. (A)              10/31/2016     -538.33        -18.13
             10/31/2016   Journal Entry   10-4a-16      6000-GaiaVirtualGoods             10/31/2016   27,585.71    27,585.71
             11/01/2016   Journal Entry   10-4a-16R     6000-GaiaVirtualGoods             11/01/2016   -27,585.71   -27,585.71
             11/16/2016   Payment                       AdTech Marketplace                11/16/2016    -4,025.47     -371.28
             11/22/2016   Payment                       SV Networks                       11/22/2016    -3,376.56        -0.87
             09/30/2016   Invoice         4456          Paymentwall, Inc.                 11/29/2016       53.70        53.70
             11/29/2016   Payment                       Sponsorpay                        11/29/2016     -602.13        -15.23




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             11/30/2016   Payment                     Solve Media                    11/30/2016    -1,107.13       -12.22
             11/30/2016   Journal Entry   11-4a-16    6000-GaiaVirtualGoods          11/30/2016   40,879.37    40,879.37
             12/01/2016   Journal Entry   11-4a-16R   6000-GaiaVirtualGoods          12/01/2016   -40,879.37   -40,879.37
             12/02/2016   Payment                     SV Networks                    12/02/2016    -4,144.59       -39.53
             12/02/2016   Payment                     Driver Digital - GameRoll      12/02/2016    -2,939.32     -385.23
             12/16/2016   Payment                     AdTech Marketplace             12/16/2016    -5,515.99     -384.16
             12/20/2016   Payment                     Driver Digital - GameRoll      12/20/2016    -3,096.58       -88.49
             12/27/2016   Payment                     SV Networks                    12/27/2016    -1,981.58        -2.45
             12/31/2016   Journal Entry   12-4a-16    6000-GaiaVirtualGoods          12/31/2016   61,826.46    61,826.46
             01/01/2017   Journal Entry   12-4a-16R   6000-GaiaVirtualGoods          01/01/2017   -61,826.46   -61,826.46
             01/18/2017   Payment                     AdTech Marketplace             01/18/2017    -6,233.62     -474.81
             01/26/2017   Payment                     InComm Canada                  01/26/2017       -49.30        -0.34
             01/26/2017   Payment                     Jun Group                      01/26/2017       -35.06        -0.12
             01/31/2017   Journal Entry   1-4a-17     6000-GaiaVirtualGoods          01/31/2017   28,787.70    28,787.70
             02/01/2017   Journal Entry   1-4a-17R    6000-GaiaVirtualGoods          02/01/2017   -28,787.70   -28,787.70
             02/16/2017   Payment         2-16-17     AdTech Marketplace             02/16/2017    -6,997.42     -529.31
             02/22/2017   Payment                     Virool                         02/22/2017     -500.00         -0.22
             02/24/2017   Payment                     Solve Media                    02/24/2017    -3,122.51    -1,315.26
             02/28/2017   Journal Entry   2-4a-17     6000-GaiaVirtualGoods          02/28/2017   30,421.44    30,421.44
             12/31/2016   Invoice         4534        Paymentwall, Inc.              03/01/2017       26.10        26.10
             03/01/2017   Journal Entry   2-4a-17R    6000-GaiaVirtualGoods          03/01/2017   -30,421.44   -30,421.44
             03/02/2017   Payment                     Federated Media / LIJIT FM     03/02/2017     -268.89        -64.71
             03/09/2017   Payment                     Apple                          03/09/2017    -4,778.15       -10.08
             03/31/2017   Journal Entry   3-4a-17     6000-GaiaVirtualGoods          03/31/2017   42,902.46    42,902.46
             01/31/2017   Invoice         4557        Paymentwall, Inc.              04/01/2017       20.62        20.62
             04/01/2017   Journal Entry   3-4a-17R    6000-GaiaVirtualGoods          04/01/2017   -35,872.46   -35,872.46
             04/05/2017   Payment         4-5-17      Federated Media / LIJIT FM     04/05/2017     -382.19         -0.01
             04/06/2017   Payment                     Apple                          04/06/2017    -4,212.73       -35.24
             04/24/2017   Payment                     SV Networks                    04/24/2017    -1,367.18        -1.62
             04/25/2017   Payment                     Primis(used to be Sekindo)     04/25/2017    -1,231.57     -168.15
             04/26/2017   Payment                     Solve Media                    04/26/2017     -472.27         -0.01
             02/28/2017   Invoice         4586        Paymentwall, Inc.              04/29/2017       27.75        27.75
             04/30/2017   Journal Entry   4-4b-17     6000-GaiaVirtualGoods          04/30/2017    -7,030.00    -7,030.00
             04/30/2017   Journal Entry   4-4a-17     6000-GaiaVirtualGoods          04/30/2017   62,865.94    62,865.94
             05/01/2017   Journal Entry   4-4a-17R    6000-GaiaVirtualGoods          05/01/2017   -62,865.94   -62,865.94
             05/02/2017   Payment                     Federated Media / LIJIT FM     05/02/2017     -539.60        -25.98
             05/19/2017   Payment                     Supersonic                     05/19/2017    -1,300.77     -494.89
             05/26/2017   Payment                     SV Networks                    05/26/2017    -1,818.62       -12.02
             03/31/2017   Invoice         4611        Paymentwall, Inc.              05/30/2017       26.24        26.24
             05/31/2017   Journal Entry   5-06-17     Genkimix(A/R)                  05/31/2017    4,389.90     4,389.90
             05/31/2017   Journal Entry   5-4a-17     6000-GaiaVirtualGoods          05/31/2017   18,483.87    18,483.87
             05/31/2017   Journal Entry   5-19b-17    Christopher Daly               05/31/2017   80,000.00    80,000.00
             06/01/2017   Journal Entry   5-4a-17R    6000-GaiaVirtualGoods          06/01/2017   -18,483.87   -18,483.87
             06/02/2017   Payment                     Federated Media / LIJIT FM     06/02/2017     -492.87         -3.65
             06/06/2017   Deposit                     Capital One Bank               06/06/2017        -0.13        -0.13
             06/08/2017   Payment                     Apple                          06/08/2017    -4,714.60     -540.41
             06/14/2017   Deposit                     Christopher Daly               06/14/2017   -80,000.00   -80,000.00
             06/27/2017   Payment                     SV Networks                    06/27/2017     -759.12         -0.82
             06/27/2017   Payment                     Solve Media                    06/27/2017     -645.71         -0.01
             04/30/2017   Invoice         4636        Paymentwall, Inc.              06/29/2017       30.51        30.51
             05/31/2017   Invoice         4665        Solve Media                    06/30/2017      132.69       132.69
             06/30/2017   Journal Entry   6-5b-17     Jxcity                         06/30/2017       16.41        16.41
             06/30/2017   Journal Entry   6-09-17     Genkimix(A/R)                  06/30/2017      243.60       243.60
             06/30/2017   Journal Entry   6-7a-17     6000-GaiaVirtualGoods          06/30/2017      785.13       785.13
             06/30/2017   Journal Entry   6-4a-17     6000-GaiaVirtualGoods          06/30/2017   23,303.56    23,303.56
             07/01/2017   Journal Entry   6-4a-17R    6000-GaiaVirtualGoods          07/01/2017   -23,303.56   -23,303.56
             07/01/2017   Journal Entry   6-7a-17R    6000-GaiaVirtualGoods          07/01/2017     -785.13      -785.13
             07/01/2017   Journal Entry   6-5b-17R    Jxcity                         07/01/2017       -16.41       -16.41
             07/05/2017   Payment                     Federated Media / LIJIT FM     07/05/2017     -484.25         -0.02
             07/10/2017   Deposit                     Genkimix(A/R)                  07/10/2017    -4,389.90    -4,389.90
             07/10/2017   Deposit                     Genkimix(A/R)                  07/10/2017     -243.60      -243.60
             07/26/2017   Payment                     SV Networks                    07/26/2017     -523.33         -0.19
             07/28/2017   Payment                     Chartboost, Inc. (A)           07/28/2017     -133.17         -0.01
             05/31/2017   Invoice         4663        Paymentwall, Inc.              07/30/2017       33.59        33.59
             07/31/2017   Journal Entry   7-09-17     Genkimix(A/R)                  07/31/2017      106.80       106.80
             07/31/2017   Journal Entry   7-7a-17     6000-GaiaVirtualGoods          07/31/2017      620.00       620.00
             07/31/2017   Journal Entry   7-4a-17     6000-GaiaVirtualGoods          07/31/2017   17,989.84    17,989.84
             08/01/2017   Journal Entry   7-4a-17R    6000-GaiaVirtualGoods          08/01/2017   -17,989.84   -17,989.84
             08/01/2017   Journal Entry   7-7a-17R    6000-GaiaVirtualGoods          08/01/2017     -620.00      -620.00
             06/30/2017   Invoice         4694        Virool                         08/14/2017       79.83        79.83
             08/25/2017   Payment                     SV Networks                    08/25/2017    -1,002.36        -1.97
             06/30/2017   Invoice         4688        Paymentwall, Inc.              08/29/2017       11.29        11.29
             08/31/2017   Payment                     Chartboost, Inc. (A)           08/31/2017     -146.83         -0.08
             08/31/2017   Journal Entry   8-7a-17     6000-GaiaVirtualGoods          08/31/2017      345.00       345.00
             08/31/2017   Journal Entry   8-09-17     Genkimix(A/R)                  08/31/2017    3,500.40     3,500.40
             08/31/2017   Journal Entry   8-4a-17     6000-GaiaVirtualGoods          08/31/2017   15,876.35    15,876.35
             09/01/2017   Journal Entry   8-4a-17R    6000-GaiaVirtualGoods          09/01/2017   -15,876.35   -15,876.35
             09/01/2017   Journal Entry   8-7a-17R    6000-GaiaVirtualGoods          09/01/2017     -345.00      -345.00
             09/07/2017   Payment                     Apple                          09/07/2017    -4,102.46     -437.66
             07/31/2017   Invoice         4717        Virool                         09/14/2017       97.69        97.69
             07/31/2017   Invoice         4710        Paymentwall, Inc.              09/29/2017       18.58        18.58
             09/29/2017   Payment                     Chartboost, Inc. (A)           09/29/2017       -98.40        -0.11
             09/30/2017   Journal Entry   9-09-17     Genkimix(A/R)                  09/30/2017      172.80       172.80




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             09/30/2017   Journal Entry   9-5c-17     Mix10                          09/30/2017      318.50       318.50
             09/30/2017   Journal Entry   9-7a-17     6000-GaiaVirtualGoods          09/30/2017      665.00       665.00
             09/30/2017   Journal Entry   9-4a-17     6000-GaiaVirtualGoods          09/30/2017   34,810.88    34,810.88
             10/01/2017   Journal Entry   9-4a-17R    6000-GaiaVirtualGoods          10/01/2017   -34,810.88   -34,810.88
             10/01/2017   Journal Entry   9-7a-17R    6000-GaiaVirtualGoods          10/01/2017     -665.00      -665.00
             10/01/2017   Journal Entry   9-5c-17R    Mix10                          10/01/2017     -318.50      -318.50
             10/11/2017   Deposit                     Tapjoy, Inc. (A)               10/11/2017     -245.76      -146.01
             08/31/2017   Invoice         4742        Virool                         10/15/2017       16.86        16.86
             10/16/2017   Deposit                     Google Payment                 10/16/2017     -420.48         -0.02
             08/31/2017   Invoice         4735        Paymentwall, Inc.              10/30/2017       19.88        19.88
             10/31/2017   Deposit                     Genkimix(A/R)                  10/31/2017    -3,780.00    -3,780.00
             10/31/2017   Journal Entry   10-09-17    Genkimix(A/R)                  10/31/2017       19.80        19.80
             10/31/2017   Journal Entry   10-5c-17    Mix10                          10/31/2017      166.40       166.40
             10/31/2017   Journal Entry   10-7a-17    6000-GaiaVirtualGoods          10/31/2017    1,015.00     1,015.00
             10/31/2017   Journal Entry   10-4a-17    6000-GaiaVirtualGoods          10/31/2017   20,538.48    20,538.48
             11/01/2017   Journal Entry   10-4a-17R   6000-GaiaVirtualGoods          11/01/2017   -20,538.48   -20,538.48
             11/01/2017   Journal Entry   10-7a-17R   6000-GaiaVirtualGoods          11/01/2017    -1,015.00    -1,015.00
             11/01/2017   Journal Entry   10-5c-17R   Mix10                          11/01/2017     -166.40      -166.40
             11/02/2017   Payment                     Federated Media / LIJIT FM     11/02/2017       -28.43        -0.03
             09/30/2017   Invoice         4761        Paymentwall, Inc.              11/29/2017        7.72         7.72
             11/30/2017   Journal Entry   11-01-17    Say Media/Videoegg             11/30/2017   -15,170.21   -15,170.21
             11/30/2017   Payment                     Chartboost, Inc. (A)           11/30/2017     -111.93         -0.04
             11/30/2017   Journal Entry   11-5c-17    Mix10                          11/30/2017       53.69        53.69
             11/30/2017   Journal Entry   11-09-17    Genkimix(A/R)                  11/30/2017      134.40       134.40
             11/30/2017   Journal Entry   11-7a-17    6000-GaiaVirtualGoods          11/30/2017      190.00       190.00
             11/30/2017   Journal Entry   11-4a-17    6000-GaiaVirtualGoods          11/30/2017   20,834.25    20,834.25
             12/01/2017   Journal Entry   11-4a-17R   6000-GaiaVirtualGoods          12/01/2017   -20,834.25   -20,834.25
             12/01/2017   Deposit                     Say Media/Videoegg             12/01/2017    -2,000.00    -2,000.00
             12/01/2017   Journal Entry   11-7a-17R   6000-GaiaVirtualGoods          12/01/2017     -190.00      -190.00
             12/01/2017   Journal Entry   11-5c-17R   Mix10                          12/01/2017       -53.69       -53.69
             12/04/2017   Payment                     Federated Media / LIJIT FM     12/04/2017       -39.30        -0.81
             12/21/2017   Journal Entry   12-10d-17   Pocketcon Inc.                 12/21/2017   60,000.00    60,000.00
             12/26/2017   Payment                     Virtual Label, LLC             12/26/2017       -62.07        -1.67
             10/31/2017   Invoice         4786        Paymentwall, Inc.              12/30/2017        4.73         4.73
             12/31/2017   Journal Entry   12-5c-17    Mix10                          12/31/2017      136.75       136.75
             12/31/2017   Journal Entry   12-09-17    Genkimix(A/R)                  12/31/2017      255.60       255.60
             12/31/2017   Journal Entry   12-7a-17    6000-GaiaVirtualGoods          12/31/2017      330.00       330.00
             12/31/2017   Journal Entry   12-4a-17    6000-GaiaVirtualGoods          12/31/2017   48,637.89    48,637.89
             01/01/2018   Journal Entry   12-4a-17R   6000-GaiaVirtualGoods          01/01/2018   -48,637.89   -48,637.89
             01/01/2018   Journal Entry   12-7a-17R   6000-GaiaVirtualGoods          01/01/2018     -330.00      -330.00
             01/01/2018   Journal Entry   12-5c-17R   Mix10                          01/01/2018     -136.75      -136.75
             01/19/2018   Deposit                     Genkimix(A/R)                  01/19/2018     -154.20      -154.20
             01/23/2018   Payment                     SV Networks                    01/23/2018     -496.42        -10.59
             11/30/2017   Invoice         4807        Paymentwall, Inc.              01/29/2018       12.10        12.10
             01/31/2018   Payment                     Chartboost, Inc. (A)           01/31/2018       -75.25        -0.14
             01/31/2018   Journal Entry   1-5c-18     Mix10                          01/31/2018        6.34         6.34
             01/31/2018   Journal Entry   1-09-18     Genkimix(A/R)                  01/31/2018       59.70        59.70
             01/31/2018   Journal Entry   1-7a-18     6000-GaiaVirtualGoods          01/31/2018      150.00       150.00
             01/31/2018   Journal Entry   1-4a-18     6000-GaiaVirtualGoods          01/31/2018   17,336.84    17,336.84
             02/01/2018   Journal Entry   1-4a-18R    6000-GaiaVirtualGoods          02/01/2018   -17,336.84   -17,336.84
             02/01/2018   Deposit                     MonetizeMore                   02/01/2018    -5,982.09    -1,278.76
             02/01/2018   Payment                     AdTech Marketplace             02/01/2018     -186.74         -0.36
             02/01/2018   Journal Entry   1-7a-18R    6000-GaiaVirtualGoods          02/01/2018     -150.00      -150.00
             02/01/2018   Journal Entry   1-5c-18R    Mix10                          02/01/2018        -6.34        -6.34
             02/02/2018   Payment                     Federated Media / LIJIT FM     02/02/2018       -42.67        -0.01
             02/12/2018   Journal Entry   2-12-18     Novel Animation                02/12/2018   20,000.00    20,000.00
             02/16/2018   Payment                     AdExcite                       02/16/2018     -299.64         -1.14
             02/28/2018   Deposit                     Amazon Media EU SARL           02/28/2018        -6.22        -6.22
             02/28/2018   Journal Entry   2-09-18     Genkimix(A/R)                  02/28/2018       18.60        18.60
             02/28/2018   Journal Entry   2-5c-18     Mix10                          02/28/2018       36.91        36.91
             02/28/2018   Journal Entry   2-7a-18     6000-GaiaVirtualGoods          02/28/2018      415.00       415.00
             02/28/2018   Journal Entry   2-01a-18    Solium(customer)               02/28/2018    3,000.00     3,000.00
             02/28/2018   Journal Entry   2-4a-18     6000-GaiaVirtualGoods          02/28/2018   22,537.93    22,537.93
             12/31/2017   Invoice         4835        Paymentwall, Inc.              03/01/2018       12.97        12.97
             03/01/2018   Journal Entry   2-4a-18R    6000-GaiaVirtualGoods          03/01/2018   -22,537.93   -22,537.93
             03/01/2018   Journal Entry   2-7a-18R    6000-GaiaVirtualGoods          03/01/2018     -415.00      -415.00
             03/01/2018   Journal Entry   2-5c-18R    Mix10                          03/01/2018       -36.91       -36.91
             01/31/2018   Invoice         4866        Chartboost, Inc. (A)           03/02/2018        5.90         5.90
             01/31/2018   Invoice         4857        Virool                         03/17/2018      297.04       297.04
             03/19/2018   Payment                     MonetizeMore                   03/19/2018    -8,557.08     -133.82
             12/31/2017   Invoice         4844        Virtual Label, LLC             03/31/2018       61.59        61.59
             03/31/2018   Journal Entry   3-5c-18     Mix10                          03/31/2018       22.09        22.09
             03/31/2018   Journal Entry   3-09-18     Genkimix(A/R)                  03/31/2018       44.40        44.40
             03/31/2018   Journal Entry   3-7a-18     6000-GaiaVirtualGoods          03/31/2018      520.00       520.00
             03/31/2018   Journal Entry   3-4a-18     6000-GaiaVirtualGoods          03/31/2018   29,072.47    29,072.47
             01/31/2018   Invoice         4855        Paymentwall, Inc.              04/01/2018       17.96        17.96
             01/31/2018   Invoice         4847        Federated Media / LIJIT FM     04/01/2018       57.00        57.00
             04/01/2018   Journal Entry   3-4a-18R    6000-GaiaVirtualGoods          04/01/2018   -29,072.47   -29,072.47
             04/01/2018   Journal Entry   3-7a-18R    6000-GaiaVirtualGoods          04/01/2018     -520.00      -520.00
             04/01/2018   Journal Entry   3-5c-18R    Mix10                          04/01/2018       -22.09       -22.09
             04/03/2018   Payment                     Circulate                      04/03/2018     -669.75         -8.22
             04/16/2018   Payment                     MonetizeMore                   04/16/2018    -6,004.50     -107.03
             04/17/2018   Deposit                     Supersonic                     04/17/2018     -357.56      -357.56




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             04/23/2018   Journal Entry   4-10d-18     Pocketcon Inc.                  04/23/2018    20,000.00    20,000.00
             02/28/2018   Invoice         4873         Paymentwall, Inc.               04/29/2018         8.42         8.42
             02/28/2018   Invoice         4871         Federated Media / LIJIT FM      04/29/2018        46.00        46.00
             03/31/2018   Invoice         4898         Chartboost, Inc. (A)            04/30/2018         7.08         7.08
             04/30/2018   Deposit                      Circulate                       04/30/2018      -628.66      -628.66
             04/30/2018   Journal Entry   4-5c-18      Mix10                           04/30/2018        83.20        83.20
             04/30/2018   Journal Entry   4-7a-18      6000-GaiaVirtualGoods           04/30/2018      360.00       360.00
             04/30/2018   Journal Entry   4-09-18      Genkimix(A/R)                   04/30/2018      405.90       405.90
             04/30/2018   Journal Entry   4-4a-18      6000-GaiaVirtualGoods           04/30/2018    21,373.66    21,373.66
             05/01/2018   Journal Entry   4-4a-18R     6000-GaiaVirtualGoods           05/01/2018   -21,373.66   -21,373.66
             05/01/2018   Journal Entry   4-7a-18R     6000-GaiaVirtualGoods           05/01/2018      -360.00      -360.00
             05/01/2018   Journal Entry   4-5c-18R     Mix10                           05/01/2018       -83.20       -83.20
             05/02/2018   Journal Entry   5-10d-18     Pocketcon Inc.                  05/02/2018    40,000.00    40,000.00
             05/16/2018   Deposit                      Circulate                       05/16/2018       -18.33       -18.33
             05/17/2018   Payment                      TrialPay, Inc.                  05/17/2018      -289.87       -59.53
             03/31/2018   Invoice         4892         Paymentwall, Inc.               05/30/2018         6.66         6.66
             04/30/2018   Invoice         4916         Chartboost, Inc. (A)            05/30/2018        16.66        16.66
             05/31/2018   Journal Entry   5-09-18      Genkimix(A/R)                   05/31/2018        12.00        12.00
             05/31/2018   Journal Entry   5-7a-18      6000-GaiaVirtualGoods           05/31/2018      160.00       160.00
             05/31/2018   Journal Entry   5-4a-18      6000-GaiaVirtualGoods           05/31/2018    11,698.26    11,698.26
             06/01/2018   Journal Entry   5-4a-18R     6000-GaiaVirtualGoods           06/01/2018   -11,698.26   -11,698.26
             06/01/2018   Journal Entry   5-7a-18R     6000-GaiaVirtualGoods           06/01/2018      -160.00      -160.00
             06/07/2018   Payment                      Sponsorpay                      06/07/2018    -1,859.87        -1.85
             06/11/2018   Journal Entry   6-1-18       Novel Animation                 06/11/2018   200,000.00   200,000.00
             05/31/2018   Invoice         4939         Chartboost, Inc. (A)            06/30/2018        12.68        12.68
             06/30/2018   Journal Entry   6-09-18      Genkimix(A/R)                   06/30/2018         3.60         3.60
             06/30/2018   Journal Entry   6-5c-18      Mix10                           06/30/2018        37.27        37.27
             06/30/2018   Journal Entry   6-7a-18      6000-GaiaVirtualGoods           06/30/2018      140.00       140.00
             06/30/2018   Journal Entry   6-4a-18      6000-GaiaVirtualGoods           06/30/2018    29,897.12    29,897.12
             07/01/2018   Journal Entry   6-4a-18R     6000-GaiaVirtualGoods           07/01/2018   -29,897.12   -29,897.12
             07/01/2018   Journal Entry   6-7a-18R     6000-GaiaVirtualGoods           07/01/2018      -140.00      -140.00
             07/01/2018   Journal Entry   6-5c-18R     Mix10                           07/01/2018       -37.27       -37.27
             07/03/2018   Payment                      Circulate                       07/03/2018      -599.13       -20.82
             07/11/2018   Payment                      SV Networks                     07/11/2018       -80.99        -0.05
             07/13/2018   Journal Entry   7-12-18      Novel Animation                 07/13/2018    -5,000.00    -5,000.00
             07/16/2018   Deposit                      MonetizeMore                    07/16/2018    -1,680.95    -1,680.95
             07/16/2018   Journal Entry   7-2-18       Credibility Capital             07/16/2018    16,382.39    16,382.39
             07/26/2018   Journal Entry   7-2a-18      Credibility Capital             07/26/2018   -16,382.39   -16,382.39
             06/30/2018   Invoice         4955         Chartboost, Inc. (A)            07/30/2018        16.31        16.31
             07/31/2018   Journal Entry   7-09-18      Genkimix(A/R)                   07/31/2018        54.00        54.00
             07/31/2018   Journal Entry   7-7a-18      6000-GaiaVirtualGoods           07/31/2018      830.00       830.00
             07/31/2018   Journal Entry   7-4a-18      6000-GaiaVirtualGoods           07/31/2018    12,896.53    12,896.53
             08/01/2018   Journal Entry   7-4a-18R     6000-GaiaVirtualGoods           08/01/2018   -12,896.53   -12,896.53
             08/01/2018   Journal Entry   7-7a-18R     6000-GaiaVirtualGoods           08/01/2018      -830.00      -830.00
             08/21/2018   Credit Memo     4979         24/7 Media US, Inc.             08/21/2018    -1,271.00    -1,271.00
             08/21/2018   Deposit                      Genkimix(A/R)                   08/21/2018      -484.50      -484.50
             08/21/2018   Deposit                      Genkimix(A/R)                   08/21/2018      -210.20      -210.20
             08/28/2018   Journal Entry   8-1-18       Novel Animation                 08/28/2018   -50,000.00   -50,000.00
             08/30/2018   Journal Entry   8-1c-18      Novel Animation                 08/30/2018   -10,000.00   -10,000.00
             08/30/2018   Journal Entry   8-1b-18      Novel Animation                 08/30/2018    -7,700.00    -7,700.00
             08/31/2018   Journal Entry   8-7a-18      6000-GaiaVirtualGoods           08/31/2018      230.00       230.00
             08/31/2018   Journal Entry   8-09-18      Genkimix(A/R)                   08/31/2018     1,065.00     1,065.00
             08/31/2018   Journal Entry   8-4a-18      6000-GaiaVirtualGoods           08/31/2018    24,943.22    24,943.22
             09/01/2018   Journal Entry   8-4a-18R     6000-GaiaVirtualGoods           09/01/2018   -24,943.22   -24,943.22
             09/01/2018   Journal Entry   8-7a-18R     6000-GaiaVirtualGoods           09/01/2018      -230.00      -230.00
             09/06/2018   Payment                      Circulate                       09/06/2018      -565.16       -34.34
             09/06/2018   Payment                      Apple                           09/06/2018      -155.21      -116.75
             09/12/2018   Journal Entry   9-1-18       Novel Animation                 09/12/2018   -17,000.00   -17,000.00
             09/18/2018   Payment                      Supersonic                      09/18/2018      -333.18        -3.22
             09/20/2018   Journal Entry   9-1d-18      Novel Animation                 09/20/2018   -10,000.00   -10,000.00
             09/20/2018   Journal Entry   8-1e-18      Novel Animation                 09/20/2018    -4,800.00    -4,800.00
             09/27/2018   Journal Entry   9-1e-18      Novel Animation                 09/27/2018   -20,000.00   -20,000.00
             06/30/2018   Invoice         4957         BOKU                            09/28/2018      902.57       902.57
             07/31/2018   Invoice         4970         Paymentwall, Inc.               09/29/2018        18.97        18.97
             08/31/2018   Invoice         4991         TrialPay, Inc.                  09/30/2018        14.17        14.17
             08/31/2018   Invoice         4988         Circulate                       09/30/2018      554.95       554.95
             09/30/2018   Journal Entry   9-5c-18      Mix10                           09/30/2018        20.93        20.93
             09/30/2018   Journal Entry   9-09-18      Genkimix(A/R)                   09/30/2018      151.80       151.80
             09/30/2018   Journal Entry   9-7a-18      6000-GaiaVirtualGoods           09/30/2018      370.00       370.00
             09/30/2018   Journal Entry   9-4a-18      6000-GaiaVirtualGoods           09/30/2018    35,025.66    35,025.66
             10/01/2018   Journal Entry   9-4a-18R     6000-GaiaVirtualGoods           10/01/2018   -35,025.66   -35,025.66
             10/01/2018   Journal Entry   9-7a-18R     6000-GaiaVirtualGoods           10/01/2018      -370.00      -370.00
             10/04/2018   Journal Entry   10-1d-18     Novel Animation                 10/04/2018   -10,000.00   -10,000.00
             10/11/2018   Journal Entry   10-1d-18     Novel Animation                 10/11/2018   -32,000.00   -32,000.00
             10/16/2018   Payment                      Supersonic                      10/16/2018      -165.32        -3.27
             10/19/2018   Deposit                      Say Media/Videoegg              10/19/2018    -2,000.00    -2,000.00
             10/25/2018   Deposit                      Google Payment                  10/25/2018        -0.39        -0.39
             07/31/2018   Invoice         4975         BOKU                            10/29/2018      770.54       770.54
             10/31/2018   Journal Entry   10-10-18     Revenue Universe, LLC           10/31/2018      -962.33      -962.33
             10/31/2018   Journal Entry   10-5c.1-18   Mix10                           10/31/2018       -20.93       -20.93
             10/31/2018   Journal Entry   10-09-18     Genkimix(A/R)                   10/31/2018        24.00        24.00
             10/31/2018   Journal Entry   10-4a-18     6000-GaiaVirtualGoods           10/31/2018     7,092.15     7,092.15
             11/01/2018   Journal Entry   10-4a-18R    6000-GaiaVirtualGoods           11/01/2018    -7,092.15    -7,092.15




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             11/01/2018   Deposit                                Apple                           11/01/2018     -195.86      -195.86
             11/15/2018   Journal Entry   11-10l-b-18            Advantage Capital Funding LLC   11/15/2018    4,195.00     4,195.00
             08/31/2018   Invoice         4985                   BOKU                            11/29/2018      574.39       574.39
             09/30/2018   Invoice         5002                   Paymentwall, Inc.               11/29/2018       18.61        18.61
             10/31/2018   Invoice         5026                   Rixty                           11/30/2018       11.12        11.12
             10/31/2018   Invoice         5019                   Revenue Universe, LLC           11/30/2018    1,736.53       962.33
             10/31/2018   Invoice         5015                   Google Inc.                     11/30/2018    8,782.02     8,782.02
             11/30/2018   Journal Entry   11-09-18               Genkimix(A/R)                   11/30/2018      167.40       167.40
             11/30/2018   Journal Entry   11-7a-18               6000-GaiaVirtualGoods           11/30/2018      265.00       265.00
             11/30/2018   Journal Entry   11-4a-18               6000-GaiaVirtualGoods           11/30/2018   12,089.58    12,089.58
             12/01/2018   Journal Entry   11-4a-18R              6000-GaiaVirtualGoods           12/01/2018   -12,089.58   -12,089.58
             12/01/2018   Journal Entry   11-7a-18R              6000-GaiaVirtualGoods           12/01/2018     -265.00      -265.00
             12/06/2018   Payment                                Apple                           12/06/2018     -745.08      -549.22
             12/17/2018   Payment                                Supersonic                      12/17/2018     -282.43         -8.36
             12/21/2018   Deposit                                Say Media/Videoegg              12/21/2018    -1,000.00    -1,000.00
             09/30/2018   Invoice         5006                   BOKU                            12/29/2018      558.87       558.87
             10/31/2018   Invoice         5014                   Paymentwall, Inc.               12/30/2018        8.29         8.29
             11/30/2018   Invoice         5034                   Supersonic                      12/30/2018       20.05        20.05
             11/30/2018   Invoice         5035                   Rixty                           12/30/2018       77.60        77.60
             11/30/2018   Invoice         5028                   MonetizeMore                    12/30/2018    9,283.55     8,455.57
             11/30/2018   Invoice         5042                   Google Inc.                     12/30/2018   10,927.27    10,927.27
             12/31/2018   Journal Entry   12-5c-18               Mix10                           12/31/2018       24.89        24.89
             12/31/2018   Journal Entry   12-09-18               Genkimix(A/R)                   12/31/2018       55.80        55.80
             12/31/2018   Journal Entry   12-7a-18               6000-GaiaVirtualGoods           12/31/2018      330.00       330.00
             12/31/2018   Journal Entry   12-4a-18               6000-GaiaVirtualGoods           12/31/2018   10,947.61    10,947.61
             01/01/2019   Journal Entry   12-4a-18R              6000-GaiaVirtualGoods           01/01/2019   -10,947.61   -10,947.61
             01/01/2019   Journal Entry   12-7a-18R              6000-GaiaVirtualGoods           01/01/2019     -330.00      -330.00
             01/01/2019   Journal Entry   12-5c-18R              Mix10                           01/01/2019       -24.89       -24.89
             01/15/2019   Deposit                                MonetizeMore                    01/15/2019    -2,052.50    -2,052.50
             01/22/2019   Deposit                                Virtual Label, LLC              01/22/2019       -60.47       -60.47
             10/31/2018   Invoice         5020                   BOKU                            01/29/2019      835.93       835.93
             11/30/2018   Invoice         5032                   Paymentwall, Inc.               01/29/2019        6.83         6.83
             12/31/2018   Invoice         5050                   Revenue Universe, LLC           01/30/2019      773.00       773.00
             01/31/2019   Journal Entry   2-01a-18R              Solium(customer)                01/31/2019    -3,000.00    -3,000.00
             01/31/2019   Journal Entry   1-7a-19                6000-GaiaVirtualGoods           01/31/2019      120.00       120.00
             01/31/2019   Journal Entry   1-4a-19                6000-GaiaVirtualGoods           01/31/2019    3,888.51     3,888.51
             02/01/2019   Journal Entry   1-4a-19R               6000-GaiaVirtualGoods           02/01/2019    -3,888.51    -3,888.51
             02/01/2019   Payment                                Sponsorpay                      02/01/2019    -1,008.57        -0.01
             02/01/2019   Journal Entry   1-7a-19R               6000-GaiaVirtualGoods           02/01/2019     -120.00      -120.00
             11/30/2018   Invoice         5039                   BOKU                            02/28/2019      393.26       393.26
             02/28/2019   Journal Entry   2-01-19                Say Media/Videoegg              02/28/2019    -3,950.04    -3,950.04
             02/28/2019   Journal Entry   2-7a-19                6000-GaiaVirtualGoods           02/28/2019      350.00       350.00
             02/28/2019   Journal Entry   2-4a-19                6000-GaiaVirtualGoods           02/28/2019    5,290.86     5,290.86
             03/01/2019   Journal Entry   2-4a-19R               6000-GaiaVirtualGoods           03/01/2019    -5,290.86    -5,290.86
             03/01/2019   Journal Entry   2-7a-19R               6000-GaiaVirtualGoods           03/01/2019     -350.00      -350.00
             03/07/2019   Payment                                Rixty                           03/07/2019     -172.22      -172.22
             12/31/2018   Invoice         5051                   BOKU                            03/31/2019      502.21       502.21
             03/31/2019   Journal Entry   3-7a-19                6000-GaiaVirtualGoods           03/31/2019      195.00       195.00
             03/31/2019   Journal Entry   3-4a-19                6000-GaiaVirtualGoods           03/31/2019   19,778.94    19,778.94
             04/01/2019   Journal Entry   3-4a-19R               6000-GaiaVirtualGoods           04/01/2019   -19,778.94   -19,778.94
             04/01/2019   Journal Entry   3-7a-19R               6000-GaiaVirtualGoods           04/01/2019     -195.00      -195.00
             04/01/2019   Payment                                Rixty                           04/01/2019       -37.75       -37.75
             04/30/2019   Journal Entry   4-7a-19                6000-GaiaVirtualGoods           04/30/2019      815.00       815.00
             04/30/2019   Journal Entry   4-4a-19                6000-GaiaVirtualGoods           04/30/2019    3,085.19     3,085.19
             05/01/2019   Journal Entry   4-4a-19R               6000-GaiaVirtualGoods           05/01/2019    -3,085.19    -3,085.19
             05/01/2019   Journal Entry   4-7a-19R               6000-GaiaVirtualGoods           05/01/2019     -815.00      -815.00
             05/02/2019   Payment                                Rixty                           05/02/2019       -45.60       -45.60
             05/28/2019   Deposit                                Novel Animation                 05/28/2019     -200.00      -200.00
             05/31/2019   Journal Entry   5-7a-19                6000-GaiaVirtualGoods           05/31/2019    1,155.00     1,155.00
             05/31/2019   Journal Entry   5-4a-19                6000-GaiaVirtualGoods           05/31/2019    3,308.18     3,308.18
             05/31/2019   Journal Entry   Pmt toNovel            Novel Animation                 05/31/2019    9,000.00     9,000.00
             05/31/2019   Journal Entry   Luckylive              Lucky Live LLC Customer         05/31/2019   10,000.00    10,000.00
             06/01/2019   Journal Entry   5-4a-19R               6000-GaiaVirtualGoods           06/01/2019    -3,308.18    -3,308.18
             06/01/2019   Journal Entry   5-7a-19R               6000-GaiaVirtualGoods           06/01/2019    -1,155.00    -1,155.00
             06/04/2019   Payment                                Rixty                           06/04/2019       -24.30       -24.30
             06/30/2019   Journal Entry   6-7a-19                6000-GaiaVirtualGoods           06/30/2019      180.00       180.00
             06/30/2019   Journal Entry   6-4a-19                6000-GaiaVirtualGoods           06/30/2019    8,662.85     8,662.85
             07/01/2019   Journal Entry   6-4a-19R               6000-GaiaVirtualGoods           07/01/2019    -8,662.85    -8,662.85
             07/01/2019   Journal Entry   6-7a-19R               6000-GaiaVirtualGoods           07/01/2019     -180.00      -180.00
             07/31/2019   Journal Entry   7-7a-19                6000-GaiaVirtualGoods           07/31/2019      260.00       260.00
             08/01/2019   Journal Entry   7-7a-19R               6000-GaiaVirtualGoods           08/01/2019     -260.00      -260.00
             08/31/2019   Journal Entry   8-7a-19                6000-GaiaVirtualGoods           08/31/2019      155.00       155.00
             09/01/2019   Journal Entry   8-7a-19R               6000-GaiaVirtualGoods           09/01/2019     -155.00      -155.00
             10/28/2019   Payment                                PayGarden                       10/28/2019    -2,298.00     -457.79
             10/29/2019   Payment                                Amazon                          10/29/2019     -135.81        -12.04
             10/29/2019   Journal Entry   Wire in$30k            Novel Animation                 10/29/2019   30,000.00    30,000.00
             11/14/2019   Payment                                SV Networks                     11/14/2019     -300.98      -300.98
             11/27/2019   Journal Entry   Transfer               Novel Animation                 11/27/2019       15.00        15.00
             12/27/2019   Journal Entry   Tranfer to analysis    Novel Animation                 12/27/2019      200.00       200.00
             01/31/2020   Journal Entry   Write off def. rev     Rixty                           01/31/2020     -275.03      -275.03
             01/31/2020   Journal Entry   Tranfer to analysis    Novel Animation                 01/31/2020      200.00       200.00
             02/26/2020   Payment                                SV Networks                     02/26/2020     -309.51      -309.51
             03/26/2020   Journal Entry   Transfer to analysis   Novel Animation                 03/26/2020      144.13       144.13




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                                     04/14/2020   Journal Entry   Loan money to Novel        Novel Animation               04/14/2020         25,220.00          25,220.00
                                     04/15/2020   Journal Entry   Loan money to Novel        Novel Animation               04/15/2020         10,000.00          10,000.00
                                     05/15/2020   Payment                                    Tribal Fusion, Inc.           05/15/2020            -548.26             -33.69
                                     05/28/2020   Journal Entry   Transfer from Novel        Novel Animation               05/28/2020         -20,000.00         -20,000.00
                                     06/04/2020   Journal Entry   Trans. frNovel to SVB      Novel Animation               06/04/2020          -5,000.00          -5,000.00
                                     06/12/2020   Journal Entry   Trans. frNovel to SVB      Novel Animation               06/12/2020         -20,000.00         -20,000.00
                                     06/30/2020   Journal Entry   6-04-20                    Novel Animation               06/30/2020         17,500.00          17,500.00
                                     07/17/2020   Journal Entry   Payment fr. Novel          Novel Animation               07/17/2020         -30,000.00         -30,000.00
                                     07/23/2020   Journal Entry   Payment fr. Novel          Novel Animation               07/23/2020         -30,000.00         -30,000.00
                                     07/31/2020   Journal Entry   Trans SVB to Novel         Novel Animation               07/31/2020        120,000.00         120,000.00
                                     08/05/2020   Journal Entry   Payment fr. Novel          Novel Animation               08/05/2020         -30,000.00         -30,000.00
                                     08/21/2020   Journal Entry   Trans SVB to Novel         Novel Animation               08/21/2020         50,000.00          50,000.00
                                     08/25/2020   Journal Entry   Payment fr. Novel          Novel Animation               08/25/2020         -40,000.00         -40,000.00
                                     08/27/2020   Journal Entry   Trans SVB to Novel         Novel Animation               08/27/2020         40,000.00          40,000.00
                                     09/04/2020   Journal Entry   Payment fr. Novel          Novel Animation               09/04/2020         -40,000.00         -40,000.00
                                     09/15/2020   Journal Entry   Payment fr. Novel          Novel Animation               09/15/2020         -30,000.00         -30,000.00
                                     09/17/2020   Journal Entry   Tran fr.SVB to Novel       Novel Animation               09/17/2020         60,000.00          60,000.00
                                     09/22/2020   Journal Entry   Payment fr. Novel          Novel Animation               09/22/2020         -30,000.00         -30,000.00
                                     10/05/2020   Journal Entry   Tran fr.SVB to Novel       Novel Animation               10/05/2020         30,000.00          30,000.00
                                     10/06/2020   Journal Entry   Transfer Novel to Bre      Novel Animation               10/06/2020         -30,000.00         -30,000.00
                                     10/27/2020   Journal Entry   Trans.fr. Novel toBre      Novel Animation               10/27/2020         -20,000.00         -20,000.00
                                     10/27/2020   Journal Entry   Tran fr.SVB to Novel       Novel Animation               10/27/2020         30,000.00          30,000.00
                                     11/30/2020   Journal Entry   Trans SVB to Novel         Novel Animation               11/30/2020         60,000.00          60,000.00
                                     12/18/2020   Journal Entry   Payment fr. Novel          Novel Animation               12/18/2020         -50,000.00         -50,000.00
                                     12/28/2020   Journal Entry   Trans SVB to Novel         Novel Animation               12/28/2020         33,000.00          33,000.00
Total for 91 or more days past due                                                                                                      $     69,364.54    $    326,870.49
61 - 90 days past due
                                     12/31/2020   Journal Entry   Novel pymt reclass         Novel Animation               12/31/2020        -193,579.13        -193,579.13
                                     01/20/2021   Journal Entry   Payment fr. Novel          Novel Animation               01/20/2021         -20,000.00         -20,000.00
Total for 61 - 90 days past due                                                                                                         -$   213,579.13    -$   213,579.13
TOTAL                                                                                                                                   -$   144,214.59    $    113,291.36




                                                                            Tuesday, May 11, 2021 11:36:29 AM GMT-7




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 Fill in this information to identify the case:

 Debtor name         Gaia Interactive, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
       American Express National
 2.1                                                                                                                                $0.00                    $0.00
       Bank                                           Describe debtor's property that is subject to a lien
       Creditor's Name                                This loan has been paid in full but the UCC-1
                                                      was not released.
       4315 South 2700 West
       Salt Lake City, UT 84184
       Creditor's mailing address                     Describe the lien
                                                      UCC-1 filing
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       8/15/18                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2   BlueVine Capital, Inc.                         Describe debtor's property that is subject to a lien                   $67,146.00                      $0.00
       Creditor's Name                                UCC-1 filing in wrong state, lien disputed.
       401 Warren St., Suite 300
       Redwood City, CA 94063
       Creditor's mailing address                     Describe the lien
                                                      UCC-1 filing in wrong state, lien disputed.
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       1/22/20                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply



Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 5
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
           Case: 21-50660                    Doc# 1            Filed: 05/12/21               Entered: 05/12/21 15:29:22                 Page 27 of 61
 Debtor       Gaia Interactive, Inc.                                                                  Case number (if known)
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.3   Briantree                                      Describe debtor's property that is subject to a lien                        $0.00            $0.00
       Creditor's Name                                Current Payment Services Agreement
       c/o PayPal, Inc.
       Attention: Legal
       Department
       2211 North First Street
       San Jose, CA 95131
       Creditor's mailing address                     Describe the lien
                                                      Security interest in reserve funds
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.4   Cathay Bank                                    Describe debtor's property that is subject to a lien                 $1,720,000.00     Unknown
       Creditor's Name                                Blanket lien on all assets. Amount shown is
                                                      principal balance of $1,350,000 plus
       2855 Kifer Road, Ste. 245                      estimated accrued interest and fees.
       Santa Clara, CA 95051
       Creditor's mailing address                     Describe the lien
                                                      UCC-1 fiing - Blanket lien - filed in Delaware
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       1/17/18                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.5   CHTD Company                                   Describe debtor's property that is subject to a lien                        $0.00      Unknown
       Creditor's Name                                Blanket lien on all assets - The underlying
                                                      obligation has been paid and Debtor is
       c/o CSC                                        waiting for Creditor to terminate its UCC
       801 Adlai Stevenson Drive                      filing.
       Springfield, IL 62703
       Creditor's mailing address                     Describe the lien
                                                      UCC filing

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page 2 of 5
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                           Best Case Bankruptcy
           Case: 21-50660                    Doc# 1            Filed: 05/12/21               Entered: 05/12/21 15:29:22              Page 28 of 61
 Debtor       Gaia Interactive, Inc.                                                                  Case number (if known)
              Name

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       4/18/2018                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.6   Credibility Capital                            Describe debtor's property that is subject to a lien                     $75,154.95            $0.00
       Creditor's Name                                UCC-1 filing in wrong state, lien disputed.
       419 Park Avenue So, #807
       San Diego, CA 92150
       Creditor's mailing address                     Describe the lien
                                                      UCC-1 filing in wrong state, lien disputed.
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       11/22/19                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       0656
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.7   Credibility Capital                            Describe debtor's property that is subject to a lien                     $25,485.93            $0.00
       Creditor's Name                                UCC-1 filing in wrong state, lien disputed.
       419 Park Avenue So, #807
       San Diego, CA 92150
       Creditor's mailing address                     Describe the lien
                                                      UCC-1 fiing in wrong state, lien disputed.
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       11/22/19                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       4801
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                  page 3 of 5
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
           Case: 21-50660                    Doc# 1            Filed: 05/12/21               Entered: 05/12/21 15:29:22                Page 29 of 61
 Debtor       Gaia Interactive, Inc.                                                                  Case number (if known)
              Name

 2.8   Credibility Capital                            Describe debtor's property that is subject to a lien                      $27,578.66            $0.00
       Creditor's Name                                UCC-1 fiing in wrong state, lien disputed.
       419 Park Avenue So, #807
       San Diego, CA 92150
       Creditor's mailing address                     Describe the lien
                                                      UCC-1 filing in wrong state, lien disputed.
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       7/10/18                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       1437
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.9   Gary Schofield                                 Describe debtor's property that is subject to a lien                 $1,744,622.62        Unknown
       Creditor's Name                                Blanket lien on all assets.
       995 Parma Way
       Mountain View, CA 94042
       Creditor's mailing address                     Describe the lien
                                                      UCC-1 filing in Delaware. Lien is junior in
                                                      priority to Cathay Bank.
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       6/27/18                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1   US Small Business
 0     Adminstration                                  Describe debtor's property that is subject to a lien                     $500,000.00            $0.00
       Creditor's Name                                UCC-1 filing in wrong state, lien is disputed.
       10737 Gateway West #300
       El Paso, TX 79935
       Creditor's mailing address                     Describe the lien
                                                      UCC-1 filing in wrong state, lien is disputed.
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       4/17/2020                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 4 of 5
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
           Case: 21-50660                    Doc# 1            Filed: 05/12/21               Entered: 05/12/21 15:29:22                 Page 30 of 61
 Debtor       Gaia Interactive, Inc.                                                                  Case number (if known)
              Name

       7204
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.




                                                                                                                               $4,159,988.1
 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                          6

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
        Liam J. O'Connor, Esq.
        Hopkins & Carley                                                                                      Line   2.4
        70 S. First Sstreet
        San Jose, CA 95113

        Novel Animation, Inc.
        2445 Augustine #150                                                                                   Line   2.9
        Santa Clara, CA 95054




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 5 of 5
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
           Case: 21-50660                    Doc# 1            Filed: 05/12/21               Entered: 05/12/21 15:29:22                 Page 31 of 61
 Fill in this information to identify the case:

 Debtor name         Gaia Interactive, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                         $630.00         $630.00
           Florida Department of Revenue                             Check all that apply.
           5050 West Tennessee Street                                   Contingent
           Tallahassee, FL 32399                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           12/13/19                                                  State Tax Lien

           Last 4 digits of account number 2206                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                         $813.00         $813.00
           Kansas Department of Revenue                              Check all that apply.
           P.O. Box 12005                                               Contingent
           Topeka, KS 66612-2005                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           10/27/20                                                  State Tax Warrant

           Last 4 digits of account number 8040                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 1 of 6
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                   27694                               Best Case Bankruptcy
            Case: 21-50660                   Doc# 1            Filed: 05/12/21                   Entered: 05/12/21 15:29:22               Page 32 of 61
 Debtor       Gaia Interactive, Inc.                                                                          Case number (if known)
              Name

 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $2,347.00    $2,347.00
           Kansas Department of Revenue                              Check all that apply.
           P.O. Box 12005                                               Contingent
           Topeka, KS 66612-2005                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           10/26/20                                                  State Tax Warrant

           Last 4 digits of account number 7872                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.4       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                        $813.00     $813.00
           Kansas Department of Revenue                              Check all that apply.
           P.O. Box 12005                                               Contingent
           Topeka, KS 66612-2005                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           10/25/20                                                  State Tax Warrant

           Last 4 digits of account number 7870                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                $101,223.77
           ADP                                                                         Contingent
           1851 N Resler Drive MS-100                                                  Unliquidated
           El Paso, TX 79912                                                           Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Trade debt
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                      $133.26
           Aflac                                                                       Contingent
           1932 Wynnton Road                                                           Unliquidated
           Columbus, GA 31999-0004                                                     Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Trade debt
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    $2,700.43
           American Express                                                            Contingent
           P.O. Box 981537                                                             Unliquidated
           El Paso, TX 79998                                                           Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Miscellaneous purchases
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                             Page 2 of 6
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                                   Best Case Bankruptcy
           Case: 21-50660                    Doc# 1            Filed: 05/12/21                   Entered: 05/12/21 15:29:22                              Page 33 of 61
 Debtor       Gaia Interactive, Inc.                                                                  Case number (if known)
              Name

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,470.71
          AT&T                                                                  Contingent
          870 N. McCarthy Blvd. Floor 1                                         Unliquidated
          Milpitas, CA 95035                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,505.55
          CenturyLink(Level 3 Communications LLC)                               Contingent
          1025 Eldorado Blvd                                                    Unliquidated
          Broomfield, CO 80021                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,309.75
          Cogent Communications, Inc                                            Contingent
          P.O Box 791087                                                        Unliquidated
          Baltimore, MD 21279-1087                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $250,000.00
          Derek Liu                                                             Contingent
          1206 Spruance Street                                                  Unliquidated
          San Jose, CA 95128                                                    Disputed
          Date(s) debt was incurred May 3, 2021
                                                                             Basis for the claim:    Personal loan to corporation
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $800.27
          EdgeCast Networks, Inc.                                               Contingent
          PO Box 21412                                                          Unliquidated
          New York, NY 10087                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $89,260.88
          Equinix, Inc.                                                         Contingent
          c/o Alan L. Brodkin & Associates                                      Unliquidated
          15500 B Rockfield Blvd.                                               Disputed
          Irvine, CA 92618
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred 11/1/18
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $83,585.43
          James Cao                                                             Contingent
          863 Donovan Way                                                       Unliquidated
          Mountain View, CA 94043                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Loans made to the corporation
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 3 of 6
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
           Case: 21-50660                    Doc# 1            Filed: 05/12/21            Entered: 05/12/21 15:29:22                               Page 34 of 61
 Debtor       Gaia Interactive, Inc.                                                                  Case number (if known)
              Name

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $65,721.68
          Loanme Inc.                                                           Contingent
          1900 S State College Blvd Suite 300                                   Unliquidated
          Anaheim, CA 92806
                                                                                Disputed
          Date(s) debt was incurred 12/19/17
                                                                             Basis for the claim:    Loan to corporation
          Last 4 digits of account number 2191
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $3,197,000.00
          Novel Animation, Inc.                                                 Contingent
          2445 Augustine Dr Suite 150                                           Unliquidated
          Santa Clara, CA 95054                                                 Disputed
          Date(s) debt was incurred 12-1-2016
                                                                                              Loan Agreement and Promissory Note. Total balance
                                                                             Basis for the claim:
          Last 4 digits of account number                                    $3,197,000. Creditor is the 100% shareholder of the Debtor and
                                                                             insider debt therefore does not count against total to qualify for
                                                                             Subchapter V.
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,995.00
          Oracle America, Inc.(used to be Zenedge)                              Contingent
          P.O. Box 44471                                                        Unliquidated
          San Francisco, CA 94144-4471                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          Pay Pal Pte Ltd.
          Attention: Complaince Officer                                         Contingent
          5 Temasek Blvd.                                                       Unliquidated
          #09-01/02/03 Suntec Tower 5                                           Disputed
          SINGAPORE 03898-5000
                                                                             Basis for the claim:    Merchant Services Agreement
          Date(s) debt was incurred 11/6/20
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,500.00
          Solium                                                                Contingent
          221 Main Street, Suite 780                                            Unliquidated
          San Francisco, CA 94105                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $594.28
          Sun Life Financial                                                    Contingent
          PO Box 7247-0381                                                      Unliquidated
          Philadelphia, PA 19170-0381                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $513.51
          TASC                                                                  Contingent
          2302 International Lane                                               Unliquidated
          Madison, WI 53704                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 4 of 6
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
           Case: 21-50660                    Doc# 1            Filed: 05/12/21            Entered: 05/12/21 15:29:22                               Page 35 of 61
 Debtor       Gaia Interactive, Inc.                                                                  Case number (if known)
              Name

 3.18      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $16,530.00
           The Irvine Company                                                   Contingent
           2550 N. First Street, Suite 100                                      Unliquidated
           San Jose, CA 95131                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Unpaid rent at prior address.
           Last 4 digits of account number
                                                                             Is the claim subject to offset?         No     Yes

 3.19      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                       $0.00
           US Small Business Adminstration                                      Contingent
           Customers Bank                                                       Unliquidated
           701 Reading Avenue
                                                                                Disputed
           Reading, PA 19611
           Date(s) debt was incurred 4/30/20
                                                                                              PPP Loan - Debtor applied for foregiveness of this
                                                                             Basis for the claim:
                                                                             loan in the original amount of $210,800
           Last 4 digits of account number 7110
                                                                             Is the claim subject to offset?         No     Yes

 3.20      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $210,800.00
           US Small Business Adminstration                                      Contingent
           ReadyCap Lending, LLC                                                Unliquidated
           200 CONNELL DRIVE, SUITE 4000                                        Disputed
           Berkeley Heights, NJ 07922
                                                                                             Second PPP Loan - Debtor intends to apply for
                                                                             Basis for the claim:
           Date(s) debt was incurred 3/9/21
                                                                             foregiveness of this loan
           Last 4 digits of account number 8408
                                                                             Is the claim subject to offset?         No     Yes

 3.21      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $228.45
           VSP_Vision Service Plan                                              Contingent
           PO Box 45210                                                         Unliquidated
           San Francisco, CA 94145-5210                                         Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?         No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                      related creditor (if any) listed?                account number, if
                                                                                                                                                       any
 4.1       Chris Kuhner
           Kornfield, Nyberg, Bendes, Kuhner et al.                                                   Line     3.10
           1970 Broadway, Suite 600,
                                                                                                             Not listed. Explain
           Oakland, CA 94612

 4.2       Stephen Finestone
           Finestone Hayes LLP                                                                        Line     3.7
           456 Montgomery St., 20th Fl.
                                                                                                             Not listed. Explain
           San Francisco, CA 94104


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                          Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.          $                      4,603.00
 5b. Total claims from Part 2                                                                            5b.    +     $                  4,028,872.97




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 5 of 6
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy
           Case: 21-50660                    Doc# 1            Filed: 05/12/21            Entered: 05/12/21 15:29:22                               Page 36 of 61
 Debtor       Gaia Interactive, Inc.                                                              Case number (if known)
              Name


 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.     $              4,033,475.97




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                  Page 6 of 6
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
           Case: 21-50660                    Doc# 1            Filed: 05/12/21          Entered: 05/12/21 15:29:22           Page 37 of 61
 Fill in this information to identify the case:

 Debtor name         Gaia Interactive, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1.        State what the contract or                   Current Payment
             lease is for and the nature of               Services Agreement
             the debtor's interest
                                                                                      Briantree
                  State the term remaining                3                           c/o PayPay, Inc.
                                                                                      Attention: Legal Department
             List the contract number of any                                          2211 North First Street
                   government contract                                                San Jose, CA 95131


 2.2.        State what the contract or                   Merchange Services
             lease is for and the nature of               Agreement
             the debtor's interest
                                                                                      Pay Pal Pte Ltd.
                  State the term remaining                                            Attention: Complaince Officer
                                                                                      5 Temasek Blvd.
             List the contract number of any                                          #09-01/02/03 Suntec Tower 5
                   government contract                                                SINGAPORE 03898-5000


 2.3.        State what the contract or                   Debtor leasess the
             lease is for and the nature of               commercial property
             the debtor's interest                        located at 2445
                                                          Augusstine Drive, Suite
                                                          150, Santa Clara, CA
                                                          95054. Lease expires
                                                          July 31, 2022.
                  State the term remaining
                                                                                      Regus Management Group, LLC
             List the contract number of any                                          2445 Augustine Drive #150
                   government contract                                                Santa Clara, CA 95054




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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           Case: 21-50660                    Doc# 1            Filed: 05/12/21      Entered: 05/12/21 15:29:22                 Page 38 of 61
 Fill in this information to identify the case:

 Debtor name         Gaia Interactive, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      Derek Liu                         2445 Augustine Drive #150                         Cathay Bank                        D   2.4
                                               Santa Clara, CA 95054                                                                E/F
                                                                                                                                    G




    2.2      Derek Liu                         2445 Augustine Drive #150                         Credibility Capital                D   2.6
                                               Santa Clara, CA 95054                                                                E/F
                                                                                                                                    G




    2.3      Derek Liu                         2445 Augustine Drive #150                         Credibility Capital                D   2.7
                                               Santa Clara, CA 95054                                                                E/F
                                                                                                                                    G




    2.4      Derek Liu                         2445 Augustine Drive #150                         Credibility Capital                D   2.8
                                               Santa Clara, CA 95054                                                                E/F
                                                                                                                                    G




    2.5      Derek Liu                         2445 Augustine Drive #150                         US Small Business                  D   2.10
                                               Santa Clara, CA 95054                             Adminstration                      E/F
                                                                                                                                    G




Official Form 206H                                                          Schedule H: Your Codebtors                                        Page 1 of 3
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 Debtor       Gaia Interactive, Inc.                                                       Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                         Column 2: Creditor



    2.6      James Cao                         863 Donovan Way                                  Cathay Bank                   D   2.4
                                               Mountain View, CA 94043                                                        E/F
                                                                                                                              G




    2.7      James Cao                         863 Donovan Way                                  Credibility Capital           D   2.6
                                               Mountain View, CA 94043                                                        E/F
                                                                                                                              G




    2.8      James Cao                         863 Donovan Way                                  Credibility Capital           D   2.7
                                               Mountain View, CA 94043                                                        E/F
                                                                                                                              G




    2.9      James Cao                         863 Donovan Way                                  Credibility Capital           D   2.8
                                               Mountain View, CA 94043                                                        E/F
                                                                                                                              G




    2.10     James Cao                         863 Donovan Way                                  BlueVine Capital, Inc.        D   2.2
                                               Mountain View, CA 94043                                                        E/F
                                                                                                                              G




    2.11     James Cao                         863 Donovan Way                                  American Express              D
                                               Mountain View, CA 94043                                                        E/F       3.3
                                                                                                                              G




    2.12     James Cao                         863 Donovan Way                                  US Small Business             D   2.10
                                               Mountain View, CA 94043                          Adminstration                 E/F
                                                                                                                              G




    2.13     James Cao                         863 Donovan Way                                  Loanme Inc.                   D
                                               Mountain View, CA 94043                                                        E/F       3.11
                                                                                                                              G




Official Form 206H                                                          Schedule H: Your Codebtors                                  Page 2 of 3
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 Debtor       Gaia Interactive, Inc.                                                       Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                         Column 2: Creditor



    2.14     James Cao                         863 Donovan Way                                  Novel Animation, Inc.        D
                                               Mountain View, CA 94043                                                       E/F       3.12
                                                                                                                             G




Official Form 206H                                                          Schedule H: Your Codebtors                                 Page 3 of 3
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 Fill in this information to identify the case:

 Debtor name         Gaia Interactive, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                               $400,000.00
       From 1/01/2021 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                             $1,950,000.00
       From 1/01/2020 to 12/31/2020
                                                                                                   Other


       For year before that:                                                                       Operating a business                             $2,604,537.00
       From 1/01/2019 to 12/31/2019
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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           Case: 21-50660                    Doc# 1            Filed: 05/12/21           Entered: 05/12/21 15:29:22                    Page 42 of 61
 Debtor       Gaia Interactive, Inc.                                                                    Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               Credibility Capital                                         12/1/20'                           $9,390.00               Secured debt
               419 Park Avenue So, #807                                    1/1/21 and                                                 Unsecured loan repayments
               San Diego, CA 92150                                         2/1/21
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other


       3.2.
               Novel Animation, Inc.                                       10/27/20;                       $153,000.00                Secured debt
               2445 Augustine #150                                         11/3/20 and                                                Unsecured loan repayments
               Santa Clara, CA 95054                                       12/28/20
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    James Cao                                                   See attached                     $75,748.71           Wages and commissions
               863 Donovan Way                                             list.
               Mountain View, CA 94043
               CEO

       4.2.    Derek Liu                                                   See attached                    $108,750.10           Wages and commissions
               1206 Spruance Street                                        list.
               San Jose, CA 95128
               CTO

       4.3.    James Cao                                                   See attached                    $210,997.52           Mr. Cao used his personal
               863 Donovan Way                                             list                                                  credit cards and took personal
               Mountain View, CA 94043                                                                                           loans for the corproation. All
               CEO and Director                                                                                                  payments made to Mr. Cao
                                                                                                                                 were for reimbursement for the
                                                                                                                                 purchases made or loans taken
                                                                                                                                 on behalf of the corporation.

       4.4.    Derek Liu                                                   See attached                     $92,000.00           A friend of Derek Liu's, Jiazhen
               1206 Spruance Street                                        list                                                  Lee, made a loan to Gaia
               San Jose, CA 95128                                                                                                Interactive, Inc. in the sum of
               CTO and Director                                                                                                  $100,000. Gaia paid Derek Liu
                                                                                                                                 who in turn paid Ms. Lee the
                                                                                                                                 payments on the loan.

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

       Creditor's name and address                              Describe of the Property                                       Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 2
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 Debtor       Gaia Interactive, Inc.                                                                       Case number (if known)



    debt.

           None

       Creditor's name and address                              Description of the action creditor took                        Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                       Nature of case               Court or agency's name and              Status of case
               Case number                                                                   address
       7.1.    Cathay Bank v. Debtor, et al.,                   Complaint for                Superior Court                              Pending
               20CV366065                                       Breach of                    County of Santa Clara                       On appeal
                                                                Contract,                    191 N. First St.
                                                                                                                                         Concluded
                                                                Guaranty; Judicial           San Jose, CA 95113
                                                                Foreclosure;
                                                                Claim and
                                                                Delivery; and
                                                                Appointment of
                                                                Receiver

       7.2.    Equinix, Inc. vs. Debtor, et al.,                Complaint for                Superior Court                              Pending
               19CV350262                                       Open Book                    County of Santa Clara                       On appeal
                                                                Account; Account             191 N. First St.
                                                                                                                                         Concluded
                                                                Stated; and                  San Jose, CA 95113
                                                                Reasonable Value.


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                     Description of the gifts or contributions                  Dates given                            Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                     Amount of payments received for the loss                   Dates of loss             Value of property
       how the loss occurred                                                                                                                                      lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 3
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 Debtor        Gaia Interactive, Inc.                                                                    Case number (if known)




11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                 Who was paid or who received                        If not money, describe any property transferred           Dates            Total amount or
                 the transfer?                                                                                                                           value
                 Address
       11.1.                                                                                                                   2/17/21 -
                                                                                                                               $10,000.00
                                                                                                                               3/24/21 -
                                                                                                                               $50,000.00
                                                                     Debtor paid to Binder & Malter, LLP the                   3/24/21 -
                                                                     sum of $10,000 on 2/17/21 for an initial                  $100,000.00
                                                                     retainer for bankruptcy analysis and                      3/24/21 -
                                                                     creditor neotiations. Debtor also paid the                $100,000.00
                                                                     sum of $250,000 on March 24, 2021 to                      5/10/21 -
                                                                     Binder & Malter, LLP for attorneys' fees                  $38,289.08
                                                                     and costs for this Chapter 11 case.                       5/10/21 -
                 Binder & Malter LLP                                 Binder & Malter, LLP also received the                    $38,
                 2775 Park Avenue                                    sum of $38,289.08 from the law offices of                 3/24/21 -
                 Santa Clara, CA 95050                               James Cai.                                                $50,000.00         $298,289.08

                 Email or website address
                 michael@bindermalter.com

                 Who made the payment, if not debtor?
                 Debtor and Derek Liu



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                Dates transfers           Total amount or
                                                                                                                      were made                          value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

                Who received transfer?                          Description of property transferred or                   Date transfer          Total amount or
                Address                                         payments received or debts paid in exchange              was made                        value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To

 Part 8:       Health Care Bankruptcies


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 Debtor      Gaia Interactive, Inc.                                                                     Case number (if known)



15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                       Nature of the business operation, including type of services            If debtor provides meals
                                                                the debtor provides                                                     and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                   Last 4 digits of          Type of account or          Date account was              Last balance
               Address                                          account number            instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                       Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


           None

       Facility name and address                                     Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own




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 Debtor      Gaia Interactive, Inc.                                                                     Case number (if known)




21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.    Gaia Interactive, Inc.                           Online community and hangout for                 EIN:         XX-XXXXXXX
             2445 Augustine Drive, Suite                      anime/comic artists and fans.
             150                                                                                               From-To      4/23/04 to present
             Santa Clara, CA 95054


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 6
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 Debtor      Gaia Interactive, Inc.                                                                     Case number (if known)



              None

       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26a.1.       Naiyu Pai                                                                                                            Past 2 years
                    Pai Accountancy LLP
                    1413 Grant Road
                    Mountain View, CA 94040

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address
       26d.1.       US Small Business Adminstration
                    10737 Gateway West #300
                    El Paso, TX 79935

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Novel Animation, Inc.                          c/o Derek Liu & James Cao                           None                                  100%
                                                      2445 Augustine #150
                                                      Santa Clara, CA 95054


29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?




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 Debtor       Gaia Interactive, Inc.                                                                    Case number (if known)




            No
            Yes. Identify below.

               Name and address of recipient                    Amount of money or description and value of              Dates             Reason for
                                                                property                                                                   providing the value
       30.1 James Cao
       .    863 Donovan Way                                                                                              See attached      Wages and
               Mountain View, CA 94043                          $75,748.71                                               list.             commissions.

               Relationship to debtor
               CEO and Director


       30.2 Derek Liu
       .    1206 Spruance Street                                                                                         See attached      Wages and
               San Jose, CA 95128                                $108,750.10                                             list              commissions.

               Relationship to debtor
               CTO and Director


       30.3                                                                                                                                A friend of Derek
       .                                                                                                                                   Liu's, Jiazhen
                                                                                                                                           Lee, made a loan
                                                                                                                                           to Gaia
                                                                                                                                           Interactive, Inc. in
                                                                                                                                           the sum of
                                                                                                                                           $100,000. Gaia
                                                                                                                                           paid Derek Liu
                                                                                                                                           who in turn paid
               Derek Liu                                                                                                                   Ms. Lee the
               1206 Spruace Street                                                                                       See attached      payments on the
               San Jose, CA 95128                               See attached list.                                       list.             loan.

               Relationship to debtor
               CTO and Director


       30.4                                                                                                                                Mr. Cao used his
       .                                                                                                                                   personal credit
                                                                                                                                           cards and took
                                                                                                                                           personal loans for
                                                                                                                                           the corproation.
                                                                                                                                           All payments
                                                                                                                                           made to Mr. Cao
                                                                                                                                           were for
                                                                                                                                           reimbursement
                                                                                                                                           for the purchases
               James Cao                                                                                                                   made or loans
               863 Donovan Way                                                                                           See attached      taken on behalf of
               Mountain View, CA 94043                          See attached sheet.                                      sheet.            the corporation.

               Relationship to debtor
               CEO and Director


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 8
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy
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 Debtor      Gaia Interactive, Inc.                                                                     Case number (if known)



32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 9
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 Debtor      Gaia Interactive, Inc.                                                                     Case number (if known)




 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         May 12, 2021

 /s/ James Cao                                                          James Cao
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         CEO

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
  No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                         page 10
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Re: Gaia Interactive, Inc.
Payments to Insiders
                                              Net Payroll                               Others
                             Dates                          Amounts                     Amounts
James Cao                         5/15/2020                     $2,916.67   Bonus              $2,204.81 Loanme loan payment
863 Donovan Way                   5/15/2020                     $2,916.67   Retro pay 2-16-20 to 2-29-20
Mountain View, CA 94043           5/15/2020                     $2,916.67
                                  5/29/2020                     $2,916.67   Commission
                                  5/29/2020                     $2,916.67
                                  5/31/2020                     $2,916.67   Bonus
                                  6/15/2020                     $2,916.67   Bonus
                                  6/15/2020                     $2,916.67                      $2,204.81 Loanme loan payment
                                   7/1/2020                     $2,916.67
                                  7/15/2020                     $2,916.67                      $2,204.81 Loanme loan payment
                                  7/31/2020                     $2,916.67   Bonus
                                  7/31/2020                     $2,916.67
                                  8/14/2020                     $2,916.67                      $2,204.81 Loanme loan payment
                                  8/31/2020                         $500
                                  9/15/2020                         $500                       $2,204.81 Loanme loan payment
                             9//30/2020                             $500
                                 10/15/2020                         $500                      $2,204.81 Loanme loan payment
                                 10/15/2020                                                  $27,822.79 AWS Hosting
                                 10/22/2020                                                  $11,026.78 pay off lendingclun loan (reimbursement)
                                 10/31/2020                         $500
                                 11/15/2020                         $500                      $2,204.81 Loanme loan payment
                                 11/17/2020                                                  $28,601.88 AWS Hosting
                                 11/30/2020                         $500
                                  12/8/2020                                                  $28,579.20 AWS Hosting
                                 12/15/2020                         $500                      $2,204.81 Loanme loan payment
                                 12/31/2020                         $500
                                   1/6/2021                                                  $29,486.84 AWS Hosting
                                  1/15/2021                     $4,166.50                     $2,204.81 Loanme loan payment
                                  1/29/2021                     $4,166.50
                                   2/5/2021                                                  $29,000.00 AWS Hosting
                                  2/15/2021                     $4,166.50                     $2,204.81 Loanme loan payment
                                  2/28/2021                     $4,166.50
                                   3/5/2021                                                  $30,022.31 AWS Hosting
                                  3/15/2021                     $4,166.50                     $2,204.81 Loanme loan payment
                                  3/31/2021                     $4,166.50
                                  4/15/2021                     $4,166.50                      $2,204.81 Loanme loan payment
                                  4/30/2021                     $4,166.50
                                                               $75,748.71                   $210,997.52




                                 5/15/2020                      $2,916.67   Retro pay 2-16-20 to 2-29-20
                                 5/15/2020                      $2,916.67
Derek Liu                        5/29/2020                      $2,916.67   Commission
1206 Spruance Street             5/29/2020                      $2,916.67
San Jose, CA 95128               6/15/2020                      $2,916.67   Commission
                                 6/15/2020                      $2,916.67
                                  7/1/2020                      $2,916.67   Commission
                                  7/1/2020                      $2,916.67
                                 7/15/2020                      $2,916.67   Commission
                                 7/15/2020                      $2,916.67
                                 7/31/2020                      $2,916.67   Commission
                                 7/31/2020                      $2,916.67
                                 8/14/2020                      $2,916.67
                                 8/31/2020                      $4,166.67
                                 9/15/2020                      $4,166.67
                                 9/21/2020                                                   $30,000.00 loan payment to Derek
                                 9/30/2020                      $4,166.67
                                 10/6/2020                                                   $30,000.00 loan payment to Derek
                                10/15/2020                      $4,166.67
                                10/31/2020                      $4,166.67
                                11/15/2020                      $4,166.67
                                11/30/2020                      $4,166.67
                                 12/3/2020                                                   $32,000.00 loan payment to Derek
                                12/15/2020                      $4,166.67
                                12/31/2020                      $4,166.67
                                 1/15/2021                      $4,166.67



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                   1/29/2021           $4,166.67
                   2/15/2021           $4,166.67
                   2/28/2021           $4,166.67
                   3/15/2021           $4,166.67
                   3/31/2021           $4,166.67
                   4/15/2021           $4,166.67
                   4/30/2021           $4,166.67
                                     $108,750.10        $92,000.00




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                                                               United States Bankruptcy Court
                                                                     Northern District of California
 In re      Gaia Interactive, Inc.                                                                                    Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Novel Animation, Inc.                                                                100%
 c/o Derek Liu & James Cao
 2445 Augustine #150
 Santa Clara, CA 95054


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the CEO of the corporation named as the debtor in this case, declare under penalty of perjury that I have read the
foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date May 12, 2021                                                            Signature /s/ James Cao
                                                                                            James Cao

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                               UNITED STATES BANKRUPTCY COURT
                                               NORTHERN DISTRICT OF CALIFORNIA

 In re                                                                             Case No.
           Gaia Interactive, Inc.




                                                 Debtor(s).               /


                                                             CREDITOR MATRIX COVER SHEET


        I declare that the attached Creditor Mailing Matrix, consisting of 5 sheets, contains the correct,
complete and current names and addresses of all priority, secured and unsecured creditors listed in debtor's
filing and that this matrix conforms with the Clerk's promulgated requirements.

DATED: May 12, 2021


                                                                              /s/ Michael W. Malter
                                                                              Signature of Debtor's Attorney or Pro Per Debtor




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                         ADP
                         1851 N Resler Drive MS-100
                         El Paso, TX 79912



                         Aflac
                         1932 Wynnton Road
                         Columbus, GA 31999-0004



                         American Express
                         P.O. Box 981537
                         El Paso, TX 79998



                         American Express National Bank
                         4315 South 2700 West
                         Salt Lake City, UT 84184



                         AT&T
                         870 N. McCarthy Blvd. Floor 1
                         Milpitas, CA 95035



                         BlueVine Capital, Inc.
                         401 Warren St., Suite 300
                         Redwood City, CA 94063



                         Briantree
                         c/o PayPal, Inc.
                         Attention: Legal Department
                         2211 North First Street
                         San Jose, CA 95131



                         Cathay Bank
                         2855 Kifer Road, Ste. 245
                         Santa Clara, CA 95051




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                     CenturyLink(Level 3 Communications LLC)
                     1025 Eldorado Blvd
                     Broomfield, CO 80021



                     Chris Kuhner
                     Kornfield, Nyberg, Bendes, Kuhner et al.
                     1970 Broadway, Suite 600,
                     Oakland, CA 94612



                     CHTD Company
                     c/o CSC
                     801 Adlai Stevenson Drive
                     Springfield, IL 62703



                     Cogent Communications, Inc
                     P.O Box 791087
                     Baltimore, MD 21279-1087



                     Credibility Capital
                     419 Park Avenue So, #807
                     San Diego, CA 92150



                     Derek Liu
                     1206 Spruance Street
                     San Jose, CA 95128



                     Derek Liu
                     2445 Augustine Drive #150
                     Santa Clara, CA 95054



                     EdgeCast Networks, Inc.
                     PO Box 21412
                     New York, NY 10087




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                     Equinix, Inc.
                     c/o Alan L. Brodkin & Associates
                     15500 B Rockfield Blvd.
                     Irvine, CA 92618



                     Florida Department of Revenue
                     5050 West Tennessee Street
                     Tallahassee, FL 32399



                     Gary Schofield
                     995 Parma Way
                     Mountain View, CA 94042



                     James Cao
                     863 Donovan Way
                     Mountain View, CA 94043



                     Kansas Department of Revenue
                     P.O. Box 12005
                     Topeka, KS 66612-2005



                     Liam J. O'Connor, Esq.
                     Hopkins & Carley
                     70 S. First Sstreet
                     San Jose, CA 95113



                     Loanme Inc.
                     1900 S State College Blvd Suite 300
                     Anaheim, CA 92806



                     Novel Animation, Inc.
                     2445 Augustine Dr Suite 150
                     Santa Clara, CA 95054




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                     Novel Animation, Inc.
                     2445 Augustine #150
                     Santa Clara, CA 95054



                     Oracle America, Inc.(used to be Zenedge)
                     P.O. Box 44471
                     San Francisco, CA 94144-4471



                     Pay Pal Pte Ltd.
                     Attention: Complaince Officer
                     5 Temasek Blvd.
                     #09-01/02/03 Suntec Tower 5
                     SINGAPORE 03898-5000



                     Solium
                     221 Main Street, Suite 780
                     San Francisco, CA 94105



                     Stephen Finestone
                     Finestone Hayes LLP
                     456 Montgomery St., 20th Fl.
                     San Francisco, CA 94104



                     Sun Life Financial
                     PO Box 7247-0381
                     Philadelphia, PA 19170-0381



                     TASC
                     2302 International Lane
                     Madison, WI 53704



                     The Irvine Company
                     2550 N. First Street, Suite 100
                     San Jose, CA 95131




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                     US Small Business Adminstration
                     Customers Bank
                     701 Reading Avenue
                     Reading, PA 19611



                     US Small Business Adminstration
                     10737 Gateway West #300
                     El Paso, TX 79935



                     US Small Business Adminstration
                     ReadyCap Lending, LLC
                     200 CONNELL DRIVE, SUITE 4000
                     Berkeley Heights, NJ 07922



                     VSP_Vision Service Plan
                     PO Box 45210
                     San Francisco, CA 94145-5210




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                                                               United States Bankruptcy Court
                                                                     Northern District of California
 In re      Gaia Interactive, Inc.                                                                          Case No.
                                                                                   Debtor(s)                Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Gaia Interactive, Inc. in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 May 12, 2021                                                          /s/ Michael W. Malter
 Date                                                                  Michael W. Malter #96533
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for Gaia Interactive, Inc.
                                                                       Binder & Malter, LLP
                                                                       2775 Park Avenue
                                                                       Santa Clara, CA 95050
                                                                       (408) 295-1700 Fax:(408) 295-1531
                                                                       Michael@bindermalter.com




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